Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 1 of 75

EXHIBIT A
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 2 of 75

CENTER FOR DRUG EVALUATION AND

RESEARCH
APPLICATION NUMBER:
2024390rig1s000
ROCKET AF Reanalysis
Reviews

Clinical Review
Statistical Review

Clinical Pharmacology Review
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 3 of 75

CDTL Review
NDA 202439 — Rivaroxaban (Xarelto®): Impact of use of the INRatio® device in the ROCKET AF trial

September 26, 2016

Division of Cardiovascular and Renal Products
CDTL Review

By: Martin Rose, MD, JD

Date: September 26, 2016

Re: NDA 202439 ~ Rivaroxaban (Xarelto®, Janssen Pharmaceuticals, Inc.) to reduce the
risk of stroke and systemic embolism in patients with nonvalvular atrial fibrillation:
Impact of use of the HemoSense/Alere INRatio PT/INR monitoring system in the
confirmatory ROCKET AF trial on the interpretation of the trial results’

Also affects: IND 75,238

1 Summary and Recommendations

1.1 Summary

Rivaroxaban was approved for use to reduce the risk of stroke and systemic embolism in
patients with nonvaivular atrial fibrillation on November 4, 2011. Evidence for the efficacy of
rivaroxaban came from the warfarin-controlled ROCKET AF (ROCKET) trial, which also
contributed much of the safety data in the application (see Sec. 2.1 and Sec. 2.2 for summaries
of the relevant design features and results of ROCKET, respectively). In September 2015 we
received from Janssen Pharmaceuticals, Inc. (Janssen), the NDA holder, information that had
the potential to affect our interpretation of the data from ROCKET. Janssen informed us that the
hand-held, point-of-care (POC) INRatio® device that was used at all study sites to monitor INR
and adjust warfarin dose in ROCKET had been subject to a Class 1 recall event involving a
“voluntary correction” of its labeling in December 2014, about 3 years after the approval of
rivaroxaban by DCRP. The recall was based on post-marketing information indicating that INR
values reported by the device were lower than near-contemporaneous readings from a
laboratory-based device in certain patient groups identified by the current manufacturer of this
device, Alere, Inc. Some patients with substantially discordant INR readings were hospitalized
for bleeding episodes.

The rationale for the recall raised the possibility that patients in the warfarin arm of ROCKET
were over-anticoagulated as a result of use of the INRatio device, potentially distorting the
results of the study by increasing the rate of bleeding in the warfarin arm. This might include an
increased rate of hemorrhagic stroke, a component of the primary efficacy endpoint. These
distortions would tend to bias the results in favor of rivaroxaban in comparisons of bleeding
rates vs. warfarin, and possibly also bias the primary endpoint in favor of rivaroxaban. Over-
anticoagulation in the warfarin arm might have reduced the rate of ischemic stroke, also a
component of the primary endpoint. This might have distorted the study efficacy results in the
opposite direction, i.e., against rivaroxaban.

After learning of the recall, Janssen and FDA independently performed a variety of analyses
intended to characterize the impact of use of the INRatio device on the safety and efficacy
results of ROCKET. Most of these analyses involved data from a large, embedded-PK/PD sub-
study in ROCKET that involved sparse INR sampling at Weeks 12 and 24 of treatment in the

' This review draws heavily on the excellent and innovative modeling analyses performed by Drs. Florian
and McDowell (described in the Clinical Pharmacology review) and Lawrence and Hung (described in the
Biostatistics review). In this review, Dr. McDowell also contributed substantially analyses of the clinical
data from ROCKET and the discussion of the modeling performed by Janssen.

1

Reference ID: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 4 of 75

CDTL Review
NDA 202439 — Rivaroxaban (Xarelto®): impact of use of the INRatio® device in the ROCKET AF trial

September 26, 2016

study. About 87% of the 7125 warfarin arm patients who were treated in the study had at least
one pair of same-day INR samples that were run using the INRatio device at each patient's
study site (POC INR) and a laboratory based device at Duke University (LAB INR). We
consider the LAB INR as the standard in the comparison of LAB INR to POC INR. The matched
pairs of INR values enabled comparative analyses by FDA and Janssen of the performance of
the two devices, and also analyses of the effects of differences between POC INR and LAB INR
on rates of important outcomes in ROCKET. FDA and Janssen also built mathematical models
of INR vs. outcomes that generated expected bleeding and ischemic stroke rates in the two
study arms and rivaroxaban vs. warfarin comparisons for these endpoints. The models
estimated thrombotic and bleeding outcomes in ROCKET in a hypothetical situation in which the
true INR was the same as the reported LAB INR, so that warfarin arm patients were less
intensely anticoagulated they were in ROCKET. These rates and summary statistics were
compared to the reported results of ROCKET.

The various analyses referred to above indicated:

e Overall, observed POC INR averaged about 13% less than LAB INR, with modest
variability in this relationship except when LAB INR was s 2 (Figure 3).

e {n6225 warfarin arm patients with a POC INR/LAB INR pair at Week 24 (or Week 12, if
there was not a pair at Week 24), 52% of patients had a POC INR within the target
range of 2.0 to 3.0. Of this subgroup, 35% had a same-day LAB INR above the target
range, compared to 3% that had a LAB INR below the target range (Table 10).

e In Janssen’s categorical analysis of POC INR vs. LAB INR, patients in the warfarin arm
with a LAB INR category that was 1 or more categories higher than their same-day POC
INR category had a somewhat higher rate of major bleeding (3.17 events per 100
patient-years) than those whose LAB INR and POC INR were in the same category
(2.74 events per 100 patient years, Table 7). We performed our own categorical
analysis, with directionally consistent results (Table 11).

e FDA used two mathematical modeling approaches to estimate the clinical outcomes
results that might have occurred in ROCKET if a more accurate INR assay had been
used to guide warfarin dosing, i.e., one that that reported results similar to the
laboratory-based assay at Duke. Four such models were created by Janssen. Of these
six models, three were based on the INR results obtained closest to the time of endpoint
events (our preferred methodology) in ROCKET or other studies of direct-acting oral
anticoagulants (DOACs) vs. warfarin. Each of these analyses predicted a small
decrease in the expected rate of major bleeding in the warfarin arm compared to the
observed rate of 3.45 events per 100 patient years in ROCKET (reductions in the three
models ranged from 7% to 10% of the observed rate). In each analysis, the hazard ratio
or rate ratio for major bleeding for rivaroxaban vs. warfarin was reciprocally increased.
Estimated rates of other types of bleeding in the warfarin were also reduced to a small
extent. Overall, these estimated reductions in the rates of bleeding events in the
warfarin arm were small enough so that the benefits of rivaroxaban would still outweigh
its risks if efficacy were not affected. Notably, two of these three analyses also
estimated the rate of ischemic stroke, and one estimated the rate of the primary efficacy
endpoint of total stroke + systemic embolism. Both these models predicted that the rate
of ischemic stroke would be increased in the warfarin arm, resulting in an expected
improvement of the efficacy of rivaroxaban relative to warfarin. Also, the one analysis
that estimated the rate of the primary endpoint found an increase in the rate of this
parameter in the warfarin arm. A fortiori, compared to warfarin, the benefits of
rivaroxaban would still outweigh its risks (Sec. 5, Table 12 and Table 15).

Reference ID: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 5 of 75

CDTL Review
NDA 202439 —~ Rivaroxaban (Xarelto®): Impact of use of the INRatio@ device in the ROCKET AF trial

September 26, 2016

« The EINSTEIN matched pair of randomized trials in patients with venous
thromboembolism and pulmonary embolism supports rivaroxaban’s current indications
for acute use in these two conditions. In these studies, rivaroxaban was transiently
given at a higher dose than in ROCKET and then reduced to a dose identical to the one
used in ROCKET, and control arm patients received enoxaparin transiently and then
were switched to warfarin, which was dosed as in ROCKET. In the pooled trial results
described in labeling, the overail bleeding profile for rivaroxaban was not worse than for
the control, and major bleeding, including intracranial hemorrhage, was less frequent
with rivaroxaban (Table 16). The INRatio device was not used in these trials. The trials’
results are reassuring with regard to the risk of bleeding with rivaroxaban compared to

dose-adjusted warfarin.

The information summarized above indicates that it is quite likely that patients in the warfarin
arm of ROCKET unintentionally received higher doses of warfarin than they would have
received if the INRatio device had provided results similar to those provided by the
laboratory-based device at Duke. However, the effects of this increased intensity of
anticoagulation on clinical outcomes were likely to have been quite modest. It seems very
unlikely that if the device had performed similarly to the INR assessment device at Duke, the
benefit/risk profile of rivaroxaban compared to warfarin would have been notably different
from the profile based on the observed results of ROCKET. Accordingly, the conclusion we
made in 2011 that the benefits of rivaroxaban in patients with non-valvular atrial fibrillation
outweigh its risks should not be changed.

1.2 Recommendations:

1) No changes in rivaroxaban labeling to reflect the impact of use of the INRatio device in
ROCKET are warranted. No other major regulatory action should be taken with respect

to rivaroxaban.
2) Our conclusions regarding the issues addressed by this review should be communicated

to the public in a suitable manner, but not through any changes in labeling.

Reference ID: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 6 of 75

CDTL Review
NDA 202439 ~ Rivaroxaban (Xarelto®): Impact of use of the INRatio® device in the ROCKET AF trial
September 26, 2016

Contents
1 Summary and Recommendations occ ence cee te nee ee reece cette enc nnenrarcneeee renee eerenanee sy 1
V4 SUMMA Y once cece eee eee creer nnn D LEED E DEER R EERE EE DEE ELEC EOE AEE E SE tee pera E EEF E EEC BEE I ED 1
1.2 Recommendations: 0.0.0.0. cnt ee eee cere enn erent esr eetteetresennenninatentnersngeaae 3
2 BaCKGFOUNCL.... ceececccccccecec eee erent nn AERO EEE EEE EEE EE DEED ELUTE EEDA CAEL EES SEEDED SESE OS HOSS HEEL DEAE US SEBepee nea 5
2.1 Key Design Features of ROCKET .00....0.0c eee ce ene ee cnet etre tees rneaseneees 5
2.2 Overview of Results of ROCKET occ eeccccceeneee ee eeete tere ttteeeeetenbieeesenneetenenieerenies 7
2.3. Commercial and Regulatory History of the INRatio Family of Devices 20... 10
3. Review of the Submissions by JansSen oo... cere reer ne tet eet eeerrrninreatentnesnnites 14
3.1 Timing of SUDMISSIONS ...... ieee cece eee EEE CIEE SEE EES d eee n nee eer eees 14
3.2 Submitted Data 0c cccccec ence eneeeee et eecereneeeeecetesceresenesnncnseereseeeeesivsanneteesesenaaaneeaty 14
3.2.1 Relationship of POC INR to LAB INR... cee eccceeceneereeereerteeresiesseesteeententasensseniieresseenees 14
3.2.2 Relationship between POC INR vs. LAB INR Differences and Bleeding............ cece 17
3.2.3 Analyses of POC INR vs. LAB INR in Patients with or without the Medical Conditions listed
in the December 2014 Recall of the INRatio Device... ee cece ee eeeecernnaeetereeerteeteeeeenesaasegeee 18
4 Analyses of Janssen’s Data Conducted by FDA 0.0... eee cern e eee terreterreneeesaes 21
4.1 Relationship of POC INR to LAB INR ooo... cece ceneteceee renee eee rtne acer eeteeeenneetentinneners 21
4.2 Relationship between POC INR vs. LAB INR Discordance and Bleeding..........0.00 23
4.3. Effects of Storage Time on Ratio between LAB INR and POC INR... eerie 26
5 Modeling of the Impact of the INRatio Device on Clinical Outcomes in ROCKET............. 29
5.1 Modeling by FDA 00.2... ccc cece cece eet eter reece cnn een EE eer EEE EEE EEO D GREED Eee a ae ee etnies 29
5.2 Madeling by JansSSe@n oo... cee cc ceee cn eee eer ern eee E EE EEL eee EEE DEEDES EEG a cee tees 33
6 Data from Other Studies of Rivaroxaban. 0.0.0.2... cece ceee tees re tnnreeeeeteeevenseaseeeseesensnneees 37
6.1 EINSTEIN DVTIPE ou... ccc ccccccecceecnceeeeeeetneeeeeeeeneieeeernnaneeeeeesnineeeeepnaneersiareeesnniasaenneies 38
6.1. Mini-Sentinel Observational Study: Rivaroxaban vs. Warfarin... eee reeecetseees 39
6.2 Medicare Database Observational Study: Rivaroxaban vs. Dabigatran................. 40
T DISCUSSION oo.ceecc i ecccecceccecesstecceesseseeeceseneeeeeeentaeeredenaaeeseesentiareeeeiieerececaneeenineeenineeeeesniges 41
Appendix 1 Proportional Color Block Display of POC INR vs. LAB INR ......cc cece eereeeeriees 43
Appendix 2 Modeling by Janssen... ccc ccc ern eri ener e nent tebe eteeecreaeeretrneeeenaees 45
4

Reference ID: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 7 of 75

CDTL Review
NDA 202439 — Rivaroxaban (Xarelto®): Impact of use of the INRatio@ device in the ROCKET AF trial

September 26, 2016

2 Background

Rivaroxaban, an orally available inhibitor of the activated form of coagulation factor X (FXa),
was approved for use to reduce the risk of stroke and systemic embolism in patients with non-
valvular atrial fibrillation (AF) on November 4, 2011. This indication is sometimes colloquially
referred to as “SPAF,” an acronym for stroke prevention in (nonvalvular) atrial fibrillation. Our
finding of efficacy to support this use was based entirely on the results of the large ROCKET AF
trial (ROCKET), which also supplied most of the clinical safety information for this use.
Rivaroxaban was the second DOAC approved for SPAF; dabigatran, an inhibitor of Factor Ila
(thrombin), had been approved for this use in 2010. Since the approval of rivaroxaban for
SPAF, two other DOACs, apixaban and edoxaban, have been approved for this use. Like
rivaroxaban, these latter two drugs are inhibitors of FXa.

2.1. Key Design Features of ROCKET

ROCKET was a randomized, double-blind, event-driven, confirmatory trial of rivaroxaban vs.
dose-adjusted warfarin that was performed at 1187 study sites on 6 continents. The target was
405 primary endpoint events. it was expected that about 14,000 patients would be enrolled and
treated for up to 32 months to meet the event target. Attainment of the target would mark the
end of the study.

The primary objective of ROCKET was to demonstrate that the efficacy of rivaroxaban for the
intended indication, reduction in the rate of stroke and systemic embolism in patients with
nonvalvular AF, was non-inferior that of dose-adjusted warfarin.? The primary safety objective
was to demonstrate that rivaroxaban is superior to dose-adjusted warfarin as assessed by the
composite of major and non-major clinically relevant bleeding events. The proposed primary
efficacy endpoint was time to the composite of stroke (any type) or systemic embolism. Efficacy
and safety outcomes (i.e., bleeding events) were blindly adjudicated by a centralized
adjudication committee. ROCKET was planned as the only study performed to support the
efficacy of rivaroxaban for approval of the AF indication in the US and all other regions except
for Japan, where a study with a slightly different design was conducted.

After being screened, patients were randomized using a telephonic IVRS system.
Randomization was 1:1 to treatment with rivaroxaban or warfarin. The dose of rivaroxaban was
20 mg once daily for most subjects. It was 15 mg daily for those with creatinine clearance
(CrCL) 30 to 50 mL/min; those with CrCL<30 mL/min were excluded. Warfarin was dose-
adjusted with an INR target of 2.0 to 3.0 for all subjects. The study included both patients who
were or were not taking warfarin at enrollment. INRs were to be performed at least every 4
weeks during the study, and considerably more often at the start of the study when warfarin was
initiated in some patients.

A double-dummy dosing scheme was used to maintain the blind. In addition, to avoid
unblinding based on knowledge of INR, INR was to be measured at the study sites for all
enrolled subjects using a hand-held point-of-care (POC) device provided to the site by Janssen.
The device was the INRatio PT Monitoring System, a marketed device in the US. It was
modified specially for use in the trial by its manufacturer, HemoSense Inc. The modification
involved only the software relating to reporting of the INR readout. The device and associated
procedures were designed to minimize the likelihood of unblinding based on INR data. After

* Janssen specified a non-inferiority margin of 1.46, but we used a margin of 1.38 in our analyses.

5

Reference ID: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 8 of 75

CDTL Review
NDA 202439 — Rivaroxaban (Xarelto®): Impact of use of the INRatio® device in the ROCKET AF trial

September 26, 2016

analyzing a blood sample, this device displayed a code number instead of the actual INR value.
This code number was entered into the telephonic IVRS by site staff along with the subject's
study identification number. The IVRS decoded the INR code number and then issued a
standardized report which contained either:

* the INR value if the subject was assigned to warfarin or
* asham INR value if the subject was assigned to rivaroxaban.

The site was notified of the sham or true INR during the phone call; a fax of the result was also
generated by the VRS and sent to site. The INR was not entered into the CRF, but was kept
separately at the site. There was a data transfer from the IVRS to the study database of the
INR information, including the coded (“encrypted”) INR, the “decoded” (true) INR and the
“randomly generated” (sham) INR. The database contains all versions of the INR for each
measurement, but only the true INR was reported to the site by the IVRS for warfarin arm
patients and only the sham INR was reported to the site for rivaroxaban arm patients.

Decoded (true) INR values were reported to the site for warfarin arm patients as follows:

» INR values less than 1 were reported as “less than 1.0”, but the true value is in the study
database

* INR values >6.0 were all reported as “greater than 6.0” and entered into the database as

"6.1",

Janssen selected the HemoSense INRatio system for use at each site world-wide. The system
involved a testing cuvette that could be stored at room temperature (unlike alternative systems,
which required analogous materials to be refrigerated). A drop of blood was obtained from the
patient with a capillary tube from a skin puncture site and placed on the test strip. The strip was
then inserted into a slot on the hand-held monitor and results were reported as described
above. Janssen states that between the start of the study in 2006 and 2009, over 3000 INRatio
devices were purchased for use in ROCKET by Janssen from HemoSense and Inverness
Medical Innovations, the company that acquired HemoSense in August 2007.

Importantly, sites were instructed to use only the INRatio device to adjust warfarin dose in
ROCKET. However, this was not the only source of INR information from ROCKET.
Sporadically, patients had open-label INR determinations in hospitals or emergency rooms,
usually in connection with bleeding or invasive procedures. Most importantly, over 12,000 of
the 14,236 treated patients in ROCKET took part in a sparse PK/PD study, with sampling at
Weeks 12 and 24 of treatment during routine study visits. Blood samples were drawn at the
study site and frozen for analysis at the Duke Hemostasis and Thrombosis Center after all
samples had been gathered to examine rivaroxaban blood levels and their relationship to
coagulation parameters, including prothrombin time (PT). Duke also reported INR with the PT
results. Because the study was blinded, patients in both treatment arms were included in this
PK/PD study, even though alt of the PK/PD study objectives concerned only rivaroxaban. Data
from this study were not provided to the study sites at any time and could not have been used to
guide warfarin dosing in the trial.

Because the PK/PD blood samples were taken at routine study visits, in nearly all cases there
was a study INR performed using the INRatio device on the same day as the PK/PD blood
draws. The NDA submission in 2011 included the massive dataset containing INR values
analyzed with the INRatio device and a much smaller dataset that included the INR values
analyzed by a laboratory-based device at Duke. Both datasets were analyzed by Janssen, and

Reference ID: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 9 of 75

CDTL Review
NDA 202439 — Rivaroxaban (Xarelto®): Impact of use of the INRatio® device in the ROCKET AF trial

September 26, 2016

results related to rivaroxaban PK/PD relationships based on the PK/PD dataset were included in
the NDA. However, Janssen states that they did not assess the degree of concordance
between INRs obtained the same day In the two datasets until 2015, after learning of recall of
the INRatio device because of reporting of low INR values compared to results from laboratory-
based devices (see below). Likewise, DCRP did not assess INR concordance between the two
datasets until after learning of the recalis in 2015. These assessments are discussed below in
Sections 3 and 4 of this review, respectively.

2.2 Overview of Results of ROCKET

Relevant results of efficacy and safety outcomes in ROCKET are described in rivaroxaban
labeling and the NDA clinical review. Key efficacy endpoint results are summarized below
(Table 1). The ITT population and on-treatment analyses of the primary endpoint (time to first
stroke or systemic embolism) each favored rivaroxaban numerically and satisfied the
prespecified and also the FDA-preferred non-inferiority criteria for rivaroxaban vs. warfarin, but
each missed demonstrating superiority of rivaroxaban by a small margin. It is notable that the
entire observed advantage of rivaroxaban for stroke was based on results for hemorrhagic
stroke. Only the ITT results are shown below. Results for all-cause mortality numerically
favored rivaroxaban over warfarin.

The only notable safety risk of rivaroxaban was bleeding. Rates of ISTH major bleeding on-
treatment (i.e., up to the last dose of study drug + 2 days) are shown in Table 2. Overall, major
bleeding occurred at similar rates in the treatment arms. As in the other studies of the DOACs,
intracranial hemorrhage (ICH), including hemorrhagic stroke and other forms of ICH, was more
frequent in the warfarin arm. Fatal bleeding was also more frequent with warfarin. However,
major GI bleeding was more frequent with rivaroxaban than with warfarin.

Reference ID: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 10 of 75

CDTL Review
NDA 202439 — Rivaroxaban (Xarelto®): Impact of use of the INRatio® device in the ROCKET AF trial

September 26, 2016

Table 1 ROCKET AF: Efficacy Results
All randomized patients followed to site notification’

Event Ne7084 Rate N=7090 Rate Hazard Ratio
% 0, 3 '
n (%) (%/year) ” (%) (6/year) (95% Cl)

Stroke 253 (3.6) 2.0 281(4.0) 2.2

Ischemic Stroke 206 (2.9) 1.6 208 (2.9) 1.6

Non-CNS Systemic Embolism 20 (0.3) 0.2 27 (0.4) 0.2

a

Vascular:‘Deathtt 397 (5.6) 421 (5.9)

WOR psculey: aa
Death of Unknown Cause 62 (0.9) 79: (4.13

1 Data are shown for randomized patients followed to the date of notification of sites that the study would end.
2 The primary endpoint was the time to first occurrence of stroke (any type) or non-CNS systemic embolism The
upper limit of the 95% Cl is less than 1.38, thus satisfying FDA’s preferred test of non-inferiority. Data from one site
with significant GCP issues were excluded from all efficacy analyses.
t Adjudicated deaths regardiess of treatment or timing
tt Includes fatal bleeding and sudden or unwitnessed death

Note: In describing event rates, “events per 100 patient-years” and ‘%/year" yield identical results and are used
interchangeably.

Note: Results for the primary endpoint include both fatal and non-fatal events.
Source: US labeling.

Table 2 ROCKET AF: Bleeding Results
(Treated patients followed to last dose of study drug + 2 days)

1.04 (0.90, 1.20) ©

Maj 395 (3.6)

COOK

or Bleedingt

ws

_ Hemorrhagic Stroke§ 36(0.3) -58(0.5) «(0,63 (0.42, 0.96)

Gastrointestinal (GI) 221.(2.0) : 1,61.(1.30, 1.99)

CH 24 (0.2) 42 (0.4) 0.58 (0.35, 0.96)

Abbreviations: HR = Hazard Ratio, Cl = Confidence interval
* Major bleeding events within each subcategory were counted once per patient, but patients may have contributed
events to multiple subcategories.

+ Defined as clinically overt bleeding associated with a decrease in hemoglobin of 22 g/dL, a transfusion of 22 units
of packed red bload cells or whole blood, bleeding ata critical site, or with a fatal outcome (ISTH major bleeding).

8

Reference iD: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 11 of 75

CDTL Review
NDA 202439 -- Rivaroxaban (Xarelto®): Impact of use of the INRatio® device in the ROCKET AF trial

September 26, 2016

Source: US labeling
+t Intracranial bleeding events included intraparenchymal, intraventricular, subdural, subarachnoid and/or epidural

hematoma.
§ Hemorrhagic stroke in this table specifically refers to non-traumatic intraparenchymal and/or intraventricular

hematoma.
# Fatal bleeding is adjudicated death, with a determination that bleeding was the primary cause of death

One aspect of the conduct of ROCKET AF deserves discussion here because it might be
relevant to the impact on study outcomes of use of a device that reported falsely low INR
values. The quality of anticoagulation control in warfarin arm of ROCKET was lower than in
other trials of DOACs. Control of anticoagulation was assessed by the metric of “time in
therapeutic range” (TTR) using the linear interpolation technique of Rosendaal. This technique
has been used as a quality metric to assess anticoagulation in many clinical trials as well as in
clinical practice. In essence, the TTR is an approximation of the percentage of time during
treatment with warfarin when the parameter is within the target range. Mean TTR of individuals
in the warfarin arms of industry-sponsored of DOACs in patients with AF is shown in Table 3.
Data that were available to FDA during the review of the rivaroxaban NDA are highlighted in
yellow. Italicized and bolded entries denote trials of drugs that have been approved in the US
for use to prevent stroke and systolic embolism in patients with AF. Note that in all the studies
included in the table, the target range of INR was 2.0 to 3.0, as it was in ROCKET.

Table 3 Mean TTR in Warfarin Arms of Industry-Sponsored Trials of DOACs in Patients
with AF

SPORTIE V (ximelagetran) oe 68 oat “ENGAGE AF (edoxaban)* 65.

* TTR was calculated individually for Sach Toatent) in the study 3 warfarin arm and then averaged. For studies without
an asterisk, it is not known how the mean TTR was calculated.

italicized and bolded entries denote studies of products indicated in the US to reduce the rate of stroke and
systemic embolism in patients with AF.

Data for ARISTOTLE and ENGAGE were not yet available at the time of the approval of rivaroxaban.

All studies had an INR target range of 2.0 to 3.0.

The mean TTR in the ROCKET warfarin arm, 55%, is the lowest value listed in the table. All
other studies listed in the table had a mean TTR in their warfarin arms between 62% and 68%.
The three warfarin-controlled studies for the other approved DOACs, namely, RE-LY
(dabigatran), ARISTOTLE (apixaban) and ENGAGE AF (edoxaban), had warfarin arm mean
TTRs of 64%, 62% and 65%, respectively.

The warfarin arm TTR calculations for ROCKET and the other approved DOACs were
performed using the relevant study INR database. For ROCKET, as previously noted, the INR
database was populated with data download from the IVRS system that was based on readings
made by the INRatio devices at each study site.

The mean TTR of 55% in ROCKET means that about 45% of the time, warfarin arm subjects
were not in the therapeutic range of INR. Janssen’s data from the POC INR database indicate
that over the course of the study, INR was below the therapeutic range (i-e., <2.0) 29% of the

9

Reference ID: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 12 of 75

COTL Review
NDA 202439 ~ Rivaroxaban (Xarelto®): Impact of use of the INRatio® device in the ROCKET AF trial
September 26, 2016

time and above the therapeutic range (>3.0) 16% of the time. This is of concern with respect to
antithrombotic efficacy (i.e., ischemic stroke prevention) because the ischemic stroke risk of
patients with AF increases sharply as INR falls below 2.0, as shown in Figure 1, reproduced
from the 2006 consensus guidelines for the management of AF. The risk of other types of
bleeding in patients taking warfarin has the same basic relationship to INR as intracranial
bleeding — as INR increases over the range of values usually obtained in clinical practice, the
rate of bleeding increases.

Figure 1 Relationship between INR and Risks of Ischemic Stroke and Intracranial

/ Bleeding in Patients Treated with Warfarin
COPYRIGHT MATERIAL WITHHELD _
oo Source: ACC/AHAVESC 2006
=. guidelines for the management of

—¢ patients with atrial fibrillation.
3). Europace 2006:8:651-745

If the true INR were higher than the POC INR, then the true time below the therapeutic range
would tikely be less than what was observed (29%). The true time in range and/or the time
above range would tend to be increased over the observed values, and the warfarin arm, as a
whole, would be somewhat more anticoagulated, and perhaps more patients were over-
anticoagulated, than the POC INR results suggest. If this were the case, there would be a lower
rate of ischemic stroke in the warfarin arm than what one might expect with the observed POC
INR results. Also, there would be a higher rate of all types of bleeding than what one would
expect in the warfarin arm with a 29% rate of time below therapeutic INR range. These
perturbations in warfarin arm event rates from what one would expect with accurate INR
readings would tend to affect the rivaroxaban vs. warfarin comparisons by making rivaroxaban
look relatively less effective in preventing ischemic stroke compared to warfarin but also
relatively less harmful compared to warfarin with respect to bleeding risk.

2.3. Commercial and Regulatory History of the INRatio Family of Devices

As noted above, when Janssen elected to use the INRatio device in ROCKET, the device was
marketed by HemoSense, Inc. In August 2007, HemoSense was acquired by Inverness
Medical Innovations, Inc. In 2010, Inverness changed its corporate name to Alere Inc.

Various iterations of the INRatio device have been marketed by these companies from 2002 to
the present day (Table 4). Recently, Alere announced it plans to remove INRatio products from

10

Reference ID: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 13 of 75

CDTL Review :
NDA 202439 — Rivaroxaban (Xarelto®): Impact of use of the INRatio® device in the ROCKET AF trial

September 26, 2016

the US market (see below).

Table 4 Marketing History of the INRatio Family of Devices

510(K) Decision

Device Name Applicant Number Date

A A ‘ a

Vv Vv Y y
INRatio2 PT/INR Monitoring Alere San Diego, Inc. (Formerly K410212 05/01/2012
System: Biosite, Inc.) “eee
iNRatio/INRatio2 Test Strips Biosite Incorporated K092987 06/11/2010
INRatio 2 Pt Monitoring System HemoSense, Inc. KO72727 10/26/2007
iINRatio Self-Test HemoSense, Inc. K021923 10/24/2002
INRatio PT Monitoring System HemoSense, Inc. K020679 05/06/2002

Source: CDRH Website
https:/Awww.accessdata.fda.gov/scripts/cdrh/cfdocs/cfpmn/pmn.cfm?start_search=1&Center=&Panel=&Pr
oductCode=GJS&KNumber=&Model=&Applicant=HEMOSENSE%2C%20INC%2E &DeviceName=&1 ype
=&ThirdPartyReviewed=&ClinicalT riais=&ExpeditedReview=&Decision=&DecisionDateFrom=&DecisionD
ateTo=07%2F 22%2F2016&DeNovo=&lVDProducts=&CombinationProducts=&ZNumber=&PAGENUM=1
0&sortcolumn=DecisionDateDESC

The specific device used in ROCKET was the “INRatio PT Monitoring System®,” cleared on
05/06/2002 under 510(k) KO20679. The device was determined by CDRH to be substantially
equivalent to the Roche CoaguChek S® system for PT and INR in whole blood.

Warning Letters sent to HemoSense, 2005 and 2006

Prior to Janssen’s decision to use the INRatio device in ROCKET, HemoSense received two
letters from FDA regarding deficiencies in its reporting of post-marketing adverse experiences
associated with use of this device. We learned of these letters late in 2015.

Letter of 4 October 2005: Following an inspection from 16 May 2005 to 1 June 2005, the San
Francisco District sent a warning letter to HemoSense with the following findings relevant to the
subject of this review:
¢ Failure to submit an MDR (medical device report) to FDA regarding several cases where
the INRatio device read substantially higher or lower than a subsequent INR result from
a laboratory-based device.

Letter of 29 November 2006: Following an inspection from 15 May 2006 to 13 July 2006, the
San Francisco District sent a warning letter to HemoSense with the following findings relevant to
the subject of this review:

e Failure to report, evaluate, and/or investigate complaints of discrepant INR results
between the INRatio device and a laboratory based device or retests with the INRatio
device. These included cases where the INRatio results were lower than a jab-based
device and also one case where the INRatio result was higher than a lab-based device.

11

Reference ID: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 14 of 75

CDTL Review
NDA 202439 — Rivaroxaban (Xarelto®): Impact of use of the INRatlo® device in the ROCKET AF trial

September 26, 2016

Two cases where the INRatio device read low were associated with hospitalization of the
patient.

We view these two letters as being concerned with deficiencies in the reporting and
investigational practices of HemoSense after receiving complaints regarding the INRatio device.
While the letters describe cases where the INRatio device provided INR readings that were
discrepant from near-contemporaneous readings from a laboratory-based device, the letters
indicate that these cases should have been reported to CDRH and/or investigated by
HemoSense. The letters did not state or imply that the observed discrepancies necessarily
signaled that there was a deficiency in the performance of the device that required remediation.

Device Recalls, 2014

The next notable regulatory events relevant to the INRatio device — two recalls affecting the
INRatio and INRatio2 systems — occurred in 2014. Janssen states that they became aware of
the latter of these recalls in September 2015 and notified us about it later that month.

Recall of April 16, 2014
(http: /www.fda.gov/MedicalDevices/Safety/ListofRecalls/ucm39 7509. htm)

Alere implemented a voluntary Class 1 recall in the US of the INRatio2 PT/INR Professional
Test Strips. The recall resulted from “complaints of patients who had a therapeutic or near
therapeutic INR with the Alere INRatio2 PT/INR Professional Test Strip but a significantly higher
INR (outside of therapeutic range) when performed by a central laboratory.” The root cause of
this issue was not known, and Alere “could not determine the circumstances that might
contribute to the discrepancy in results.” The CDRH recall web page indicates that,

“Alere San Diego received 9 reports of malfunctions; 6 injuries and 3 three deaths
caused by bleeding. The firm is recalling the Alere INRatio2 PT/ANR Professional Test
Strips due to complaints of patients who had a therapeutic or near-therapeutic INR result
with the Alere INRatio2 PT/INR Professional Test Strip but a significantly higher INR
result (outside of therapeutic range) when re-testing was performed by a central
laboratory because of deterioration in the patient’s clinical condition.

Use of this affected product may cause serious adverse health consequences, including
death.” .

Alere notified customers to stop using the identified test strips immediately and use alternative
methods to perfarm PT/INR testing, including use of an “alternative Alere product.” Alere asked
customers to return unused strips. Alere stated that they would “transition customers from the
current Alere INRatio2 PT/INR Professional Test Strip to the Alere INRatio PT/INR Test Strip
(PN 100139),” which was not affected by this recall.

Janssen stated that they did not notify us about the May 2014 recall because the recalled test
strips were not used in ROCKET.

“Voluntary correction” implemented on December 5, 2014 (also a Class 1 recall)
(http://www. fda.gov/Safety/MedWatch/Safetyinformation/SafetyA/ertsforHumanMedicalProducts
/ucm396324,htm)

12

Reference ID: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 15 of 75

CDTL Review
NDA 202439 — Rivaroxaban (Xarelto®): Impact of use of the INRatio® device in the ROCKET AF trial

September 26, 2016

This action was aimed at US users of the Alere INRatio and INRatio2 PT/INR Monitor system
(INRatio Monitor or INRatio2 Monitor and INRatio Test Strips). The monitors and test strips
described in this correction were the only POC PT/INR monitors then marketed by Alere.
Notably, INRatio Monitor and Test Strip versions that were used in ROCKET were included in
this correction.

The correction indicated that,

“In certain cases an INRatio and INRatio2 PT/INR Monitor system may provide an INR
result that is clinically significantly lower than a result obtained using a reference INR
system (laboratory method). This issue can arise if the patient has certain medical
conditions or can occur if the instructions in the labelling for performing the test are not
followed.

“The INRatio and INRatio2 PT/INR Monitor system should not be used on patients with
any of the following conditions:

e Anemia of any type with hematocrit less than 30%

« Any conditions associated with elevated fibrinogen levels including:

o Acute inflammatory conditions (examples may include acute viral or
bacterial infections such as pneumonia or influenza)

o Chronic inflammatory conditions (examples may include rheumatoid
arthritis, Crohn’s disease, ulcerative colitis, infectious liver diseases such
as hepatitis, or inflammatory kidney diseases such as diabetic
nephropathy and glomerulonephritis)

o Severe infection (e.g., sepsis)

o Chronically elevated fibrinogen for any reason

o Hospitalized or advanced stage cancer or end stage renal disease
patients requiring hemodialysis

« Any bleeding or unusual bruising, clinically observed or reported by the patient

Patients with any of the conditions listed above should immediately be transitioned to a
laboratory INR method for monitoring their INR and warfarin therapy.”

Under the heading “Reason for Recall,” the notice indicates that “Alere received a total of
18,924 complaints of all types for the INRatio Test Strip (Optimize) from 2013-2014." A linked
notice indicates that this was a Class 1 recall and implicated “Manufacturing and Distribution
Dates: April 1, 2008 to December 4, 2014.”

We understand that there was skepticism in 2014 within the group in CDRH with responsibility
for devices that measure coagulation parameters, the Division of Immunology and Hematology
Devices, regarding the validity of limiting the scope of this correction to the medical conditions
named above (the “listed conditions”). It is possible that the listed conditions may simply
represent those known to be present in the patients who had discrepant results between the
INRatio device and another test of INR. It is notable that if this recall had had the analogous
scope as the April 2014 recall (i-e., if it affected all use of the named products), then the INRatio
product line would have been removed from the market as a practical matter. It is also notable
that data from ROCKET indicate that there was no difference in the degree of discordance
between INR assessed by the INRatio device and INR assessed by a laboratory-based device
when warfarin arm patients with one of the conditions described in in the December 5, 2014
recall notice (‘listed conditions”) were compared to patients without one of these conditions.

13

Reference ID: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 16 of 75

CDTL Review
NDA 202439 — Rivaroxaban (Xarelto®): Impact of use of the INRatio® device in the ROCKET AF trial

September 26, 2016

Accordingly, we believe that Alere's claim that malfunctions of the INRatio ratio device are
limited to occasions when it is used in patients with one of the listed conditions is spurious.
There is more information regarding this issue in Section 3.

Planned Device Withdrawal Announced July 11, 2016

in an announcement dated July 11, 2016, Alere stated that it would voluntarily withdraw all
remaining INRatio products from the market in the US. A date for this withdrawal was not
specified in the announcement. Alere indicated that the rationale for the planned withdrawal
was FDA's request for such action, based on the Agency’s position that Alere’s submission in
2015 of information regarding “software enhancements’ for the INRatio device does “...not
adequately demonstrate the effectiveness of the software modification.” The software
enhancements were intended by Alere to ameliorate the INR discrepancies described above in
connection with the December 2014 “voluntary correction.”

3 Review of the Submissions by Janssen

3.1. Timing of Submissions

Janssen notified us of the December 5, 2014 INRatio recall in writing on September 29, 2015,
after receiving a letter from Alere on September 24, 2015 indicating that some INRatio products
used in ROCKET were affected by the recall. Janssen had telephoned the rivaroxaban NDA
project manager several days prior to writing to us to tell us to expect a letter about this issue.
This was more than 10 months after the recall. Janssen indicated to us that Alere did not notify
Janssen about the December 2014 recall when it occurred because Alere limited notification to
a list of customers with orders dating back to some unspecified date in 2009. Janssen stated
that they had made no orders during the covered period. Janssen informed us that the covered
period was crafted so that all Alere customers who could have unexpired INRatio Test Strips
(which have 15 month expiration dating) would be notified about the recall.

Janssen stated that they learned of the possible applicability of the recall to ROCKET when they
were advised of the recall by an unnamed “third party” and then contacted Alere on their own
initiative for information regarding the INRatio products used the trial.

Since the first contact from Janssen in September 2015 regarding the recail they have made
numerous submissions of information relative to the recall and the impact of the INRatio device
malfunction on the results of ROCKET. Most of these submissions were made on their own
initiative. They also made several submissions in response to information requests from us and
EMA. Submissions to us were all made to IND 75,238.

3.2 Submitted Data

3.2.1 Relationship of POC INR to LAB INR

Data from ROCKET comparing POC INR values to same-day LAB INR values from the PK/PD
dataset indicate that POC INR, on the average was about 13% lower than same-day LAB INR.
This pattern is consistent with the information that supported the two recalls of the [NRatio
device in 2014.

14

Reference ID: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 17 of 75

CDTL Review
NDA 202439 — Rivaroxaban (Xarelto®): Impact of use of the INRatio®@ device in the ROCKET AF tral

September 26, 2016

As noted earlier, the ROCKET PK/PD study involved over 6000 patients in the warfarin arm.
About 87% of patients in the warfarin arm had at least one same-day pair of INRs read with the
INRatio device at the site (point-of-care or POC INR) and also read near the end of the study
with a laboratory-based device at Duke University (LAB INR). Most of these patients had two
such pairs of INRs.

Figure 2 is a scatter plot that depicts the relationship between POC INR minus LAB INR (y axis)
and LAB INR (x axis) for warfarin arm patients in ROCKET at Week 12 (A) and Week 24 (B).
Note that patients with POC INR > 6.0 are excluded because such LAB INR values were
truncated at 6.1, making the difference between POC INR and LAB INR difficult to interpret. At
Week 12 (A), the mean + 1.96 x SD for this parameter was -0.505 (-2.496, 1.486), and the
median was -0.32. Mean and median values, respectively, were similar to these at Week 24

(B).
Figure 2 ROCKET AF: POC INR Minus LAB INR vs. LAB INR
Treated Patients, Warfarin Arm
A. Week 12
50 -|
25-4 (8
0.0 + wT ws
AOE ps beeen eevee

BO

“7.6 ~

Difference Between Two Measures

N= 5702
“10.0 + Median = -0.329
Mean (Mean £196xSD) = -0 505 {-2 496. 1 434)

-12.5 4
r t t ¥ t t T T t T t T t s t

0 1 2 3 4 g 6 7 8 g WD 1% 12 3 14
Lak Based INR

B. Week 24
66 -

of6

Difference Between Two Measures

N = 8437
-19.0-} Madlan = -0.310
Mean (Mean + 1.96x8D) = -0.513 (-2 442 1 416)

“1254
T

Lab Basad INR
Note: Device based INR at least 6.1 is excluded.

15

Reference [D: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 18 of 75

CDTL Review
NDA 202439 ~ Rivaroxaban (Xarelto®): Impact of use of the INRatio® device in the ROCKET AF trial

September 26, 2016

The solid horizontal line is mean difference. The dashed horizontal line is median difference.
The upper and lower dotted horizontal lines are mean difference + and - 1.96 x Standard Deviation.
Source: Submission of December 14, 2015

The ratio of the difference of POC INR minus LAB INR to LAB INR at Week 12 is shown in
Figure 3. The mean value of this parameter was -0.13 (i.e., POC INR was a mean of 13% less
than LAB INR) and had a substantially less steep slope over the range of reported LAB INR
than POC INR minus LAB INR. Analogous data for Week 24 were quite similar to the Week 12
data (data not shown).

Figure 3 ROCKET AF: Ratio of POC INR Minus LAB INR to LAB INR at Week 12
Treated Patients, Warfarin Arm

Ratio of Diference and Lab Based INR

49-4 = 3702
Median = -0 128
“1.571 Mean ‘Mean t1 96xSD) = -0.128 (-0543. 0 291)

pO cea tens ge tin anne ape te amt patie one rena eg py mere ag ceteris manag atte pine opr eeny
9 1 2 3 4 & 8 7 8 a 10 4 42 13 44

Lab Based INR

Note: Device based INR at least 6.1 is excluded.

The solid horizontal line is mean difference. The dashed horizontal line is median difference. (They are overlaid).
The upper and lower dotted horizontal lines are mean difference + and - 1.96 x Standard Deviation.

Source: Submission of December 14, 2015

Janssen also analyzed the paired POC and LAB INR values by categories at Week 12 (Table 5)
and Week 24 (Table 6). The two tables show similar patterns with respect to the relationship
between POC INR (one category per row) and LAB INR (one category per column). Ignoring
the total rows and column, for each POC INR category row, the cell with the largest value is the
one with a concordant LAB INR value. For example, in either table, in the row for POC INR 2 —
3, the column with the largest value is LAB INR 2 — 3. However, when the POC INR and LAB
INR values are not concordant, LAB INR is likely to be higher than POC INR except when POC
INR is the in the highest category (>4). This is consistent with the data for POC INR minus LAB
INR in previous tables and figures. Also, the total percent of patients with POC INR in range (2
~— 3) was higher than the total with LAB INR in range in each table. As one might expect from the
data previously shown, at Week 12, those who were out of range were more likely have to have
LAB INR > 3 (35% of all subjects) than POC INR > 3 (18%). A similar pattern was observed at
Week 24 (38% vs. 18%, respectively).

16

Reference ID: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 19 of 75

CDTL Review
NDA 202439 -~ Rivaroxaban (Xarelto®): Impact of use of the INRatio®@ device in the ROCKET AF trial
September 26, 2016

Table 5 ROCKET AF: Janssen’s Categorical Analysis of POC INR vs. LAB INR at Week 12
Treated Patients, Warfarin Arm

Column Total > 1356(23.5) 2405 (41.7). 1238 (21.5) 767(13.3) 5766 (100)
V-POCINR AS oe

239 (21.
96 (1.7)

a1
>4 13 { 0.2) 411.(0.2) 33 (0.6) 257 (4.5) 314 (5.4)
Note: Percentages calculated with the total number of subjects as denominator.

Cells with concordant results for LAB INR and POC INR are highlighted in yellow
Source: Submission of December 14, 2015

Table 6 ROCKET AF: Janssen’s Categorical Analysis of POC INR vs. LAB INR at Week 24
Treated Patients, Warfarin Arm

Column Total.
POCINR

4 10 (0.2). 19(0.3) -25(0.5) ——-226(4.1) 280 (5.1)
Note: Percentages calculated with the total number of subjects as denominator.

Cells with concordant results for LAB INR and POC INR are highlighted in yellow
Source: Submission of December 14, 2015

FDA also performed categorical analyses of INR, but we used 6 categories rather than 4 to
better appreciate the rates of gross discordance of POC and LAB INR (Table 10). There is
additional information regarding the degree of INR discordance in the discussion of that table.

3.2.2 Relationship between POC INR vs. LAB INR Differences and Bleeding

Janssen’s analyses of bleeding rates in patients with and without discordance between POC
INR and LAB INR indicated that patients whose LAB INR was in a higher INR group than their
POC INR group had higher rates of major bleeding and non-major bleeding than patients whose
LAB INR and POC INR groups were concordant, although the difference in rates was not large.

Janssen analyzed the effects of discordancy between POC INR group and LAB INR group on
bleeding rates using the same groupings as in Table 6. Results at Week 12 for patients with no

17

Reference ID: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 20 of 75

CDTL Review
NDA 202439 — Rivaroxaban (Xarelto®): Impact of use of the INRatio® device in the ROCKET AF trial

September 26, 2016

discordance, LAB INR at least one group higher than POC INR, and LAB INR at least 2 groups
higher than POC INR, are shown in Table 7. Rates for all treated patients in the rivaroxaban
and warfarin arms are shown for contrast. In general, warfarin arm bleeding rates are increased
in patients with discordance vs. no discordance. This is most evident in the most common
grade of bleeding, major + clinically relevant non-major bleeding. The trend is less evident for
the less common types of bleeding shown in the table, including major GI and intracranial
bleeding. Bleeding rates in patients with same-day POC and LAB INR pairs at Week 24
showed the same pattern as the Week 12 data (data not shown). Of note, patienis without a
pair of same-day POC and LAB INR values at Week 12 (N=1359) or Week 24 (N=1618) had
higher rates of major + clinically relevant non-major bleeding than any of the groups included in
Table 7, 23.44 and 24.98 events per 100 patient-years, respectively.” They also had higher
rates of the primary endpoint than patients who had matched INR pairs at these time points
(data not shown). These findings are probably due in some part to the fact that patients with
study endpoints before Week 12 or Week 24 might discontinue follow-up prior to the blood
draws for INR.

Table 7 ROCKET AF: Warfarin Arm Bleeding Rates in Patients with Varying Degrees of
Discordancy between POC and LAB INR at Week 12

)

Assessed as LAB INR Group minus POC INR Group (Groups: 1, <2; 2, 2-3: 3, >3-4; 4, >4)
? Bleeding rates are expressed as events per 100 patient-years.
Source: Submission of December 23, 2015

3.2.3. Analyses of POC INR vs. LAB INR in Patients with or without the Medical
Conditions listed in the December 2014 Recall of the INRatio Device.

Note that the above data are not informative with respect to the validity of Alere’s claim in the
recall notice of December 4, 2014 regarding the medical history-specific nature of the difference
between INRs measured by the INRatio device and a laboratory based device. However,
Janssen performed analyses of the ROCKET data that compared differences between POC
INR and LAB INR in patients with vs. without one of the conditions listed in the recall notice.
These analyses showed that there was no difference between the two cohorts of patients in the
performance of the INRatio device relative a laboratory based device, thus suggesting that

3 Source: EMA>CHMP report, February 5, 2016. No other bleeding types were included in this subgroup
analysis.

18

Reference ID: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 21 of 75

CDTL Review
NDA 202439 — Rivaroxaban (Xarelto®): Impact of use of the INRatio® device in the ROCKET AF trial

September 26, 2016

Alere’s claim that malfunctions of the INRatio device are limited to patients with one of the listed
conditions is false.

In the most simple analyses, Janssen compared the mean and median of the differences
between POC INR and LAB INR, as well as the ratio of the difference to LAB INR, in warfarin
arm patients with or without “recall-related time” (RRT, defined in the next paragraph) that
affected an individual INR determination. As discussed below, these various metrics did not
vary notably between patients with or without INRs affected by RRT.

Whether an individual INR determination at Week 12 and/or 24 was affected by RRT was
determined in a blinded fashion by two physicians based on each subject's trial-related medical
history, laboratory data, and AE information. This information was used to determine whether
the subject had one of the conditions associated with malfunction of the device that were listed
in the Alere INRatio recall notice of December 5, 2014. Note that some of these of conditions
are chronic and some are time-limited. Our understanding is that if the subject had a qualifying
condition that was chronic, all INRs drawn after the onset date of the condition were considered
to occur during recall-related time. If the qualifying condition was acute, the INR was
considered to be drawn in recall-related time if (1) the start date of the condition was prior the
INR draw date and (2) the condition had not resolved by the date of the last INR draw previous

to the one at issue.’

Data for the various metrics described above at Week 12 and Week 24 are shown in Table 8,
which contrasts results for INR determinations that were and were not affected by RRT. if
Alere’s claim that the INRatio device reported low INRs only in patients with one of the
conditions listed in the December 5, 2014 recall notice, then results in the YES column would
show appreciably greater differences between POC and Lab INR than the NO column.
However, the data in the two columns are very similar for the mean difference between POC
and LAB INR, the median difference, and ratio of the difference to LAB INR. All cells are
consistent in showing that POC INR tended to be lower than LAB INR. These data do not
support the validity of Alere’s claim.

‘ To illustrate how this worked: Assume that a patient had POC and LAB INR draws at both Week 12 and
24, with regular POC draws at Weeks 16 and 20. Also assume that the patient had one of the transient
conditions listed in the announcement of the December 5, 2014 recall (such as pneumonia) that lasted
from week 15 to 17. Then, neither the Week 12 or Week 24 INR data would be considered to be affected
by RRT because the condition started after the Week 12 draw and its end date was prior to the last INR
drawn before the Week 24 draw, i.e., the Week 20 draw. However, if the pneumonia lasted from Week
19 to Week 21, the Week 24 INR would be considered to be affected by RRT because the Week 20 draw
occurred before the end date of the pneumonia. The Week 12 INR would not be affected by RRT.

19

Reference ID: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 22 of 75

CDTL Review
NDA 202439 — Rivaroxaban (Xarelto®): Impact of use of the INRatio@ device in the ROCKET AF trial

September 26, 2016

Table 8 ROCKET AF: Janssen’s Analyses of INR Parameters in Warfarin Arm Patients
With or Without “Recall-Related Time”
Treated Patients, Warfarin Arm

Week 12 POC INR-LAB INR Median

Week 12(POC INR-LAB INR)/LAB INR Median

Week 24 POC INR-LAB INR - Median.

Week 24(POC INR-LAB INR)/LAB INR Median

Source: Submission of December 14, 2015

Also, Janssen used a conservative modification of |SO 2007 standard for assessment of INR
measuring devices as the basis of determining whether there was a “discrepancy” between the
POC INR assessments at Weeks 12 and 24 and same-day assessment of INR that were
analyzed at Duke for the PK/PD study in ROCKET. The percentage of patients with an INR
discrepancy was compared in patients with our without RRT. A discrepancy was defined as
follows:

e ForLAB INR < 2, POC INR more than 0.5 units higher or lower than LAB INR
e ForLAB INR 2 2, POC INR more than 30% higher or lower than LAB INR

Results are shown in Table 9. One would expect subjects with recall-related time to have a
higher percentage of discrepant results (Discrepancy = YES) than those without recall-related
time, but the discrepancy rate is quite similar in the two cohorts, and is actually slightly lower in
the former than the latter subjects. This is true both for Week 12 and Week 24. Thus, like the
results of Janssen’s other analyses described above, these results do not support the validity of
Alere’s claim that only subjects with one of the conditions listed in the recall notice of Dec. 5,
2014, are prone to discrepant results with use of the INRatio device. However, it does not tell
us anything about how the discrepant INR results in some patients affected the resuits of
ROCKET.

20

Reference ID: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 23 of 75

CDTL Review
NDA 202439 — Rivaroxaban (Xarelto®): Impact of use of the INRatio® device in the ROCKET AF trial

September 26, 2016

Table 9 ROCKET AF: Impact of “Recall-Related Time” on Discrepancy of INR Results
Treated Patients, Warfarin Arm

Discrepancy ~-

672 (86.7)

645 (86,6)

NO

‘Without Recall-related Time 4991 (100)

Note: Percentages calculated with the N of subjects per arm in each recall-related time category as denominator.
Note: Discrepancy is defined as POC INR is outside of LAB INR +/- 0.5 if LAB INR < 2, and POC INR is outside of LAB
INR +/- 30% of LAB based INR if LABINR 2 2

Subjects with POC INR > 6 are not included

Source: Submission of Nov. 16, 2015

Janssen and their consultants, the Duke Clinical Research Institute, have made several
analyses of clinical outcomes in ROCKET that contrast results in patients with vs. without recall-
related time. As one might expect from the data presented above, these analyses showed that
there was no effect of recall-related time on the safety and efficacy of rivaroxaban relative to
warfarin. The recall-related time analyses of outcomes are not discussed further in this review.

At our request, Janssen also modeled the effects of inaccurate readings by the INRatio device
on clinical outcomes in ROCKET AF. These analyses are discussed below along with FDA’s
models in Sec. 5.

4 Analyses of Janssen’s Data Conducted by FDA

We performed our own analyses of the relationship between POC INR and a same-day LAB
INR, as well as the effect of differences between POC and LAB INR on the rate of bleeding.
Although our analytic methodology was different from that of Janssen, our results are consistent
with those of Janssen regarding both of these issues,

4.1 Relationship of POC INR to LAB INR

Table 10 is a display of POC vs. LAB INR categories for 6225 warfarin patients who had a
Week 12 or Week 24 matched pair of INR values.° For patients with pairs at both visits, only the
Week 24 value was used in the analysis, so no patient is represented more than once.

5 A handful of INR pairs that included a reported POC INR value >6.1 were excluded from this analysis
because such values should have reported as 6.1 in the database according to information regarding
data standards for POC INR information in the ROCKET AF study report. We suspected that such values
might have reported by some device other than the Alere INRatio device provided by Janssen to the
study sites.

21

Reference ID: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 24 of 75

CDTL Review
NDA 202439 — Rivaroxaban (Xarelto®): Impact of use of the INRatio® device in the ROCKET AF trial

September 26, 2016

Categories were INR <1.5, 1.5 to <2, 2 to 3, >3 to 4, >4 to 6, and >6. This analysis differs from
the analysis performed by Janssen in that there is one additional INR category at the low end of
INR and one additional category at the high end of INR. These additional categories are
associated with patients at high risk of thromboembolic events and bleeding, respectively. Such
patients are often candidates for immediate warfarin dose adjustment (rather than waiting for a
confirmatory out-of-range INR value at a subsequent draw before adjusting dose), or if INR is
high, temporary interruption of warfarin therapy until INR is in the therapeutic range.

In this table, each row represents a POC INR category and each column represents a LAB INR
category. The percentage value to the right of each n was calculated using a denominator that
is the total number of patients in the analysis, 6225.

As before, in row the cell representing the largest number of subjects is the one with a
concordant category for POC and LAB INR. However, that is not true in all the columns. In the
column for LAB INR category 4 (INR >3 to 4), the modal value is in the row for POC INR
category 3 (INR 2 to 3, the target range). If we assume that the LAB INR is closer to the truth
than the POC INR, which is a reasonable assumption, then a person with an INR between 3
and 4, i.e., that is above range and probably at increased risk of bleeding and who probably
would benefit from a warfarin dose reduction, would be more likely to have a POC reading that
indicates that he or she is in range. The investigator then would have no reason to adjust this
patient's dose or bring the patient back in a week or two for a confirmatory blood draw.

In the column corresponding to LAB INR category 5 (INR >4 to 6), bleeding risk is more than
slightly elevated. Here the modal value for POC INR is category 4 (INR of >3 to 4). This value
is above the target range, but an investigator looking at the INR readout might not think that a
dose reduction is urgent. Also, of 628 patients with a LAB INR category 5 reading, 172 (27%)
had a POC INR in category 3, in the target range. The patients with this level of LAB INR are at
moderately elevated risk of bleeding, and the proper course of action would be to lower the
warfarin dose immediately or at a minimum, bring the patient back early for a repeat INR.
However, the study physician for these patients received a POC INR value that indicated that
the INR was in the target range. There probably would be no reason to believe otherwise
unless the patient had active bleeding or bruising at the time of the blood draw.

The data from this table also indicate that on the day of the reading used in the analysis, about
52% of patients were in the target range of INR on the basis of the POC INR reading, but only
43% were in range on the basis of the LAB INR reading. Most of the patients who were not in
the therapeutic range on the basis of LAB INR had LAB INR values above the therapeutic

range.

These data suggest that warfarin arm patients in ROCKET may have been at increased risk of
bleeding due to higher than recognized INR values. While the bleeding in the rivaroxaban arm
would not have been affected by increased INR in the warfarin arm, the comparison of bleeding
rates would have been tilted against warfarin, thus making rivaroxaban look comparatively
better than it might have looked in a trial that used an accurate device to assess INR. In
addition, depending on the true shape of the INR response curve for ischemic stroke and the
extent to which patients were deliberately or inadvertently maintained with a POC INR values
less than 2, patients in the warfarin arm might have benefited from a higher degree of
anticoagulation and had fewer ischemic strokes than they would have had if INR had been
reported accurately at the study sites. This would have tilted the comparison in favor of warfarin

22

Reference ID: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 25 of 75

CDTL Review
NDA 202439 — Rivaroxaban (Xarelto®): Impact of use of the INRatio® device in the ROCKET AF trial

September 26, 2016

for ischemic stroke, and possibly made rivaroxaban look relatively worse than it really is in
preventing ischemic stroke.

For a more visually oriented approach to the analysis of INR categories, see Appendix 1,
below.

Table 10 ROCKET AF: Categorical Analysis of POC vs. LAB INR at Week 12 or 24
Treated Patients, Warfarin Arm

376 6.0 137. 2.2

0.1 104 1.7

Total ASS 7.3. 836 13.4°- 2674 43.0 - 1411 2 928 10
Notes: INR Groups: 1, <1.5; 2, 1.5 to <2; 3, 2 to 3; 4, >3 to 4; 5, >4 to 6; 6, >6

includes patients with a same-day pair of POC and LAB INR values at the Week 12 or Week 24 study visits. For
patients with pairs at both visits, the Week 24 value was used.

For cells in the “Total” row or column, the denominator for calculating percentages is 6225. For other cells, the
denominator is the Total n in the cell at the bottom of the relevant column.

Cells highlighted in yellow represent patients with concordant values for POC and Lab INR groups.

4.2 Relationship between POC INR vs. LAB INR Discordance and Bleeding

To determine whether malfunction of use of INRatio device might have affected outcomes in
ROCKET, as a preliminary analysis we examined outcome rates in subgroups of patients with
same-day pairs of POC INR and LAB INR at Week 12 and/or Week 24. These subgroups
include those with LAB INR >3 and POC INR <3; LAB INR >4 and POC INR <3; and LAB INR
group — POC INR group 2 2, using the same INR groups as in Table 10. Endpoints analyzed
included key study safety and efficacy parameters (see Table 11). Our expectation was that
warfarin arm subjects with these characteristics probably would have been over-anticoagulated
and thus would have a higher rate of bleeding and a possibly a lower rate of ischemic stroke
than the study population as a whole or the entire subgroup with at least one same-day pair of
POC and LAB INR values, whose data are also included in the table for each endpoint of
interest. Because INR from any source was not used to adjust rivaroxaban dose, we did not
expect patients in the rivaroxaban arm with LAB INR>POC INR to be different from those in
entire subgroup of patients with at least one same-day POC and LAB INR pair.

23

Reference ID: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 26 of 75

CDTL Review
NDA 202439 ~ Rivaroxaban (Xarelto®): Impact of use of the INRatio® device in the ROCKET AF trial
September 26, 2016

Table 11 ROCKET AF: Selected Outcomes in Patients with Same-Day POC INR/LAB INR
Pairs at Week 12 and/or Week 24
Safety Population

2.95: 1:09. (0,94;-1:28)
LAB INR:

i

(0.38, 1.07).

(Continued on next page) —

24

Reference ID: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 27 of 75

CDTL Review
NDA 202439 — Rivaroxaban (Xarelto®): impact of use of the INRatio® device in the ROCKET AF trial

September 26, 2016

With 21 POC/LABINR same-day pair? 1152/6133 1. 193/6225 1,79 0.80  (0.65,0.99) _

2,07 15/381. 2.23

Notes: All endpoints are analyzed as time to first event
ER=event rate (events per 100 patient-years); HR= hazard ratio; Cl=confidence interval

Primary Endpoint is first event of stroke {any type) or systemic embolism

* patients with same-day of POC INR and LAB INR values at Week 12 and/or Week 24

? The specified criteria were met at Week 12, Week 24 or both.

3 Lab INR group minus POC INR group 2 2; criteria met at Week 12, Week 24 or both; INR groups are defined as in

Table 10 (INR Group 1, <1.5; 2, 1.5 to <2; 3, 2 to 3; 4, >3 to 4; 5, >4 to 6; 6, > 6}

Major bleeding rates in both treatment arms were lower in the large subgroup of patients with at
least one same-day POC INR/LAB INR pair than in all treated patients. This might be due to
differences in the patients that took part in the PK/PD study and those that did not, or it might
simply be due to the fact that patients who bled prior to Week 12 or 24 may have dropped out of
the study prior to their blood draws, but these conjectures have not been explored. As we
expected, warfarin arm patients with LAB INR>3 and (on the same day) POC INR <3 had a
higher rate of major bleeding than the large warfarin arm subgroup with same-day pairs.
Bleeding events were sparse in the considerably smaller subgroups that were limited to those
with larger differences between LAB and POC INR (those with LAB INR >4 and POC INR <3,
and those with LAB INR Group — POC INR Group 22), and the major bleeding data cannot be
interpreted.

There were relatively few fatal bleeding events and hemorrhagic strokes in patients with the
analyzed INR disparities, and rates of these endpoints did not show the expected pattern.

As with major bleeding, the rate in the warfarin arm of primary endpoint events was lower in
each treatment arm in the population with at least one same-day POC INR/LAB INR pair of
values. In the warfarin arm, the subgroup with LAB INR >3 and POC INR <3 had a lower event
rate than the entire subgroup of patients with at least one matched pair of POC/LAB INR values.
Events were sparse in groups limited to those with patients with greater degrees of difference
between LAB INR and POC INR. Rates of ischemic stroke, the endpoint that comprised the
majority of primary endpoint events, had the same paitern as primary endpoint events in the
warfarin arm, as one might expect if time below therapeutic range was low or if there is a
persistent negative slope of the INR/ischemic stroke response curve as INR increases. Rates
of all-cause death in the warfarin arm had a similar pattern as the primary endpoint and
ischemic stroke in cells with at least 50 deaths.

These data are not dispositive of the question of whether use of the INRatio device in ROCKET
affected the outcome of the study. However, the pattern of the event rates for major bleeding,

and perhaps the rates of the primary endpoint and ischemic stroke, suggest that these
outcomes might have been affected in the manner we expected in the patients with LAB INR >

25

Reference !D: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 28 of 75

CDTL Review
NDA 202439 — Rivaroxaban (Xarelto®): Impact of use of the INRatio® device in the ROCKET AF trial

September 26, 2016

POC INR. Section 5 of this review explores modeling of the data by FDA and Janssen to
explore this issue further.

4.3 Effects of Storage Time on Ratio between LAB INR and POC INR

ROCKET, like other studies of the DOACs in patients with atrial fibrillation, was a large and
lengthy study. Because LAB INR samples were frozen for various periods and analyzed in
batches near the end of the study, we were concerned that the time between the LAB INR blood
draw and analysis of the sample at Duke might have affected the reported LAB INR and thus
perhaps accounted for some of the differences between POC INR and LAB INR. However, our
analyses indicate that it is very unlikely that there was a meaningful effect of time in storage on
the observed disparities between POC INR and same-day LAB INR in ROCKET.

Dr. John Lawrence of the Office of Biostatistics 1 investigated the potential impact of storage
time on the reported results of the LAB INR samples analyzed at Duke. As noted above, these
samples were frozen and stored regionally and then shipped to Duke for analysis near the end
of the study. Accordingly, the overall timeline of the ROCKET trial is retevant:

e First patient randomized: 18 December 2006

e Last patient randomized: 17 June 2009

e Site notification that the event target had been reached and sites were to schedule
end-of-study visits and perform other close-out procedures: 17 June 2010 °

e Last patient contact: 15 September 2010

Blood was drawn for the LAB INR measurements in the PK/PD study at Week 12 and Week 24
of study treatment. Janssen describes sample handling as follows:

“..,samples were collected in tubes containing 3.2% buffered sodium citrate additive. Samples
were to be centrifuged within 1 hour of collection and plasma separated from cells immediately
after centrifugation. The plasma sampie tubes were to be covered with dry ice (i.e., shock frozen

at -78° C), if available, and stored at < -18° C until shipment to the [regional] ba)
t. Once at the 4), samples were stored at -70° C. Samples were
sent from the 4) to the reference laboratory (Duke Hemostasis & Thrombosis Center

Core Laboratory) on dry ice.”

It is not clear how long the samples were kept at the study sites before shipment to Yd,
The LAB INR samples were run at Duke in batches on 93 dates over the period from
22 December 2009 to 8 July 2010.

Janssen provided us with the dates that individual LAB INR samples were drawn as well as the
dates that each sample was run at Duke for 5766 Week 12 samples and 5507 Week 24
samples (a total of 11,273 samples), all with matching same-day POC INR values. The
following statistics summarize the number of days between the date of the sample blood draw
and the date the sample was analyzed at Duke:

° This date applied to all countries except South Africa, where site notification occurred on 01 April 2010.
Study sites in South Africa were closed early to avoid potential disruptions in study procedures caused by
the FIFA (soccer) World Cup, which involved matches at multiple venues in South Africa in June and July
of 2010.

26

Reference ID: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 29 of 75

CDTL Review
NDA 202439 ~ Rivaroxaban (Xarelto®): Impact of use of the INRatio® device in the ROCKET AF trial

September 26, 2016

mean, 520;

minimum, 80;

4* quartile, 375;

median, 520;

3" quartile 654; and

maximum, 1066 (see Figure 4).

Figure 4 Days between Blood Draw and Analysis for LAB INR Samples
Cumulative Function Plot (N=11,273)

ecd{(Ibinraf$ TESTDY)

06 08

Fix)

04
L

0.2

0.0

Source: FDA analysis of data provided by Janssen.

Figure 5 is a plot of the relationship between the ratio of LAB INR to POC INR vs. the N of days
between the LAB INR blood draw and its run date for samples drawn at Week 12, Week 24, and
the pooled samples. The curves are oddly shaped, with a peak at about day 600, but variability
is not large between peak (a ratio of 1.20) and nadir (between 1:05 and 1.10). The dotted line is
the 95% Cl for the pooled set of samples. Note that about 5% of samples were stored for more
than 800 days prior to their run date. If these samples are ignored, the variability over time
becomes quite small.

It is difficult to imagine a storage time-related process that would produce a curve with this
shape, i.e. an upward inflection point between 400 and 500 days, and a downward inflection
point at around 600 days.

27

Reference ID: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 30 of 75

CDTL Review
NDA 202439 — Rivaroxaban (Xarelto®): Impact of use of the INRatio® device in the ROCKET AF trial

September 26, 2016

Figure 5 Ratio of LAB INR to POC INR vs. Days between Blood Draw and Analysis for
LAB INR Samples

1.20

Ratio of LAB to POC INR

105

sete AH Combined
- ~ Week 12 Biood Draw
- Week 24 Blood Draw
t T crowns t . T y T
9° 200 400 6co B00 1000

1.00

Number of Days Between Blood Draw Date and LAG Analysis Test Date

Finally, Figure 6 is a plot of the relationship between the ratio of LAB INR to POC INR vs. the
calendar date of the LAB INR analysis, without regard to when the sample was drawn. This
curve is similar in shape to the curve in Figure 5, which suggests the possibility that differences
in the ratio of LAB INR to POC INR may be might be related to changes over time in the assay
system than changes related to storage time.

The analytical report for the PK/PD study data in the NDA submission has the following
information for the lots of thromboplastin used to analyze LAB INR at Duke:

Analysis Lot No. | [ISI

Date’
12/22/09 104730 | 1.24
01/12/10 102387 | 1.24
04/30/10 104079 | 1.25

The ISI is the “International sensitivity index,” which is used to calculate INR from the
prothrombin time of the patient and a reference prothrombin time. The data indicate that
different lots of thromboplastin were used for analysis runs over the course of the analysis
period, which might have affected the results slightly, despite that fact that adjusting
prothrombin time for ISI is intended to yield a stable INR. Nonetheless, the overall ratio of LAB
INR to POC INR is about 1.15, and does not vary much over the course of the study except for
a small fraction of samples with storage time greater than about 800 days. For such samples,
the ratio was closer to 1.0 than for other samples. These data indicate that the observed

"itis not clear what these dates signify. it could be that the first jot was used until 1/12/10, the date given
for the second lot. Then the second lot was used until 4/30/10, when the third lot began to be used.
However, it seems unnecessary to understand the cause of variability over time in the ratio of LAB INR to
POC INR because the variability was not clinically meaningful.

28

Reference ID: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 31 of 75

CDTL Review
NDA 202439 — Rivaroxaban (Xarelto®): Impact of use of the INRatio® device in the ROCKET AF trial

September 26, 2016

differences between LAB INR and same-day POC INR over the course of the study probably
were at most minimally affected by the duration of storage.

Figure 6 Ratio of LAB INR to POC INR vs. Calendar Date of Analysis

Ratio of LAB to POC INR

All Cambined
~~ Week 12 Blood Draw
vores Week 24 Blood Draw
1 7 1
42/22/2009 3/3 142010 7/8/2010

Calendar Day of Lab Analysis

5 Modeling of the Impact of the INRatio Device on Clinical Outcomes in
ROCKET

5.1 Modeling by FDA

Modeling was performed by FDA to estimate how the use of the INRatio device affected the
major clinical outcomes of ROCKET. Specifically, two distinctly different modeling approaches
were used to estimate modified warfarin arm major bleeding rates that would be expected if the
iNRatio device had produced readings similar to those of the laboratory based device at Duke.
Both analyses indicated that the modified warfarin arm major bleeding rate would be expected
to be slightly lower than the cbserved rate, with a minimal increase in the rivaroxaban vs.
warfarin hazard ratio for this endpoint (i.e., a small change favoring warfarin). One of the
analyses also predicted a modest increase in the rate of ischemic stroke in the warfarin arm
from the observed rate, which would lead to a reduction in the hazard ratio for this endpoint (i.e.,
a modest change favoring rivaroxaban). The other model did not estimate this parameter.
Neither model suggested that our previous assessment that the benefits of rivaroxaban
outweighed its risks relative to warfarin would have been altered if ROCKET had yielded the
modeled results.

Modeling by Drs. Florian and McDowell

The first FDA analysis was created by Dr. Jeffry Florian of the Division of Biometrics in the
Office of Clinical Pharmacology and Dr. Tzu-Yun McDowell in the Division of Cardiovascular
and Renal Products. The analysis was based on data from 22,063 patients in the warfarin arms

29

Reference ID: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 32 of 75

CDTL Review
NDA 202439 — Rivaroxaban (Xarelto®): tmpact of use of the INRatio® device in the ROCKET AF trial

September 26, 2016

of the trials that supported approval of the three DOACs other than rivaroxaban approved for the
SPAF indication in the US since 2010: RE-LY (dabigatran), ARISTOTLE (apixaban) and
ENGAGE AF (edoxaban). In each of these trials, warfarin dose was adjusted at least once a
month on the basis of INR. As in the ROCKET trial, the INR target was 2.0 to 3.0. The median
INR value in patients from these trials was 2.3 with an interquartile range of 1.9 to 2.8. As of this
date, we have received no information to suggest that there was a systematic concern with the
accuracy of the INR assessments in any of the three trials used to create the modeling base.®

The review of the modelers states,

“For each outcome of interest, a multivariate Cox proportional hazard (PH) model was developed
to examine the time to the first occurrence of an on-treatment event as a function of INR and
other patient covariates.... We used the last observed INR, which was defined as the last
measured INR value prior to or on the date of the first outcome event of interest (INR value
closest to the censored date if no event) to explore the INR-outcome event relationship. This INR
value was selected as a best representation of an individual patient’s INR reading proximal to the
time of event or censoring. In addition, INR values >6 were truncated to 6. A set of common
baseline covariates collected in these studies, which could be potentially associated with the
outcome of interest was obtained and tested in Cox PH model. These covariates included age,
sex, race (white/non-white), baseline body weight, baseline aspirin use, baseline antiplatelet use,
baseline CHADS2 score, history of stroke or transient ischemic attack (TIA), diabetes, baseline
creatinine clearance (categorical as normal, mild, moderate, and severe based on Cockcroft-Gault
equation), smoking history and alcohol use. Covariates in the Cox PH model were selected using
stepwise forward addition followed by backward climination based on Bayesian information
criteria (BIC) and the stepAIC function from the ‘MASS’ package. Considering that INR
management varies geographically, sensitivity analysis was conducted using North American
patients alone. All the analyses and plots were conducted and generated in R (version 3.1.2)
and/or SAS 9.3."

The model-based risk of ischemic stroke and life-threatening or fatal bleeding across a broad
range of INR values is shown in Figure 7. Note that unlike the plot depicted in Figure 1, the
curve for ischemic stroke is not flat as INR increases above the target range; instead, the higher
levels of INR are associated with lower rates of ischemic stroke across the range depicted in the

plot.

8 in the double-blind ARISTOTLE and ENGAGE AF trials, sites were provided with hand-held ITC Protime
devices to assess INR. These modifications were analogous to the modifications of the INRatio device
used in ROCKET to preserve the study blind. In RE-LY, which was an open-label trial, the decision of
how to assess INR was left to the investigators’ discretion, although TTR was monitored.

30

Reference ID: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 33 of 75

CDTL Review
NDA 202439 — Rivaroxaban (Xarelto®): impact of use of the INRatio® device in the ROCKET AF trial

September 26, 2016

Figure 7 Relationships of the Rates of Ischemic Stroke and Life-Threatening or Fatal
Bleeding vs. INR in Pooled Data from the Warfarin Arms of Three Confirmatory Trials of

DOACs
5.0 + sseaee Ischemic Stroke «22:55: Life threatening/fatal Bleeding :
4.54
an, ‘
= 404.
$
> 3.5 “y ,
: my
=
@ 304 % 5
= % +
3 % S.
e 25-4 Ye
o . *» +
> *e vy 5
= 204
'S = “.
=
BS 15-
w
$
2 4
& 1.0
0.5 S we Men ie wee
Sreres UUM aa TEE
0.0 + “ere

4 i 1 1 i 1 q i i j I q |

10 14 18 22 26 30 34 38 42 46 50 54 58
Last cbserved INR

Note: The trials were RE-LY (dabigatran), ARISTOTLE (apixaban) and ENGAGE AF (edoxaban). All
were warfarin-controlled, and had a pooled N in their warfarin arms of 22,063 patients.

Note: “Last observed INR” refers the last measured INR value prior to or on the date of the first outcome
event of interest, or in the case of patients with no event of interest, the INR closest to the censor date.
Source: Analysis by FDA (Drs. Tzu-Yun McDowell and Jeffry Florian).

The INR data from ROCKET obtained with use of the INRatio device were adjusted (“modified”)
as described above and run through the model. The resulting modeled outcome data are shown
in Table 12. The reported ROCKET data are provided for contrast next to the modified data.

The modified warfarin arm event rates and the modified risk ratios varied from the observed
results in the directions that we expected. The modified major bleeding rate was reduced by
10%‘from the observed rate, thereby increasing the rivaroxaban vs. warfarin risk ratio (RR) for
this event by 11%. The RRs for life-threatening or fatal bleeding and also hemorrhagic stroke
increased by roughly the same proportion (i.e., rivaroxaban appeared to cause slightly more
bleeding relative to warfarin than reported in labeling or in the publication of the trial results).

34

Reference ID: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 34 of 75

CDTL Review
NDA 202439 — Rivaroxaban (Xarelto®); Impact of use of the INRatio® device in the ROCKET AF trial

September 26, 2016

However, the estimated results for ischemic stroke moved in the opposite direction. The
observed rate of this endpoint with warfarin was 1.42 %/year, while the modified was

1.70 %/year. The observed RR was 0.94, while the modified RR is 0.79, representing a 16%
reduction in risk for rivaroxaban relative to warfarin. Thus, the model predicts that if INR had
been reported accurately, one would expect that the results for ischemic stroke would be
somewhat more favorable for rivaroxaban than the reported results. The effect of use of the
INRatio device on the primary study endpoint (total stroke + systemic embolism) was not
modeled. However, the data indicate that if the primary endpoint results had been modeled, the
results would move in the same direction as the results for ischemic stroke, because the
modeled absolute increase in the rate of ischemic stroke in the warfarin arm is 0.28 events per
100 patient-years, and the modeled absolute reduction in the rate of hemorrhagic stroke is only
0.04 events per 100 patient-years, yielding a net increase in the stroke event rate of 0.24 events
per 100 patient-years.’ By increasing the rate in the denominator, the hazard ratio for
rivaroxaban vs. warfarin would be reduced, making the results more favorable for rivaroxaban.

Table 12 ROCKET AF: Reported and Model-Generated Outcomes Data for Selected
Outcomes

oo Hemorrhagic :
Stroke ..

Ss ), Oe

i 50 GS Ss Oe hi ILA
ER=Event rate (events per 100 patient-years); HR=Hazard Ratio; RR=Rate Ratio
+ ROCKET trial results was on treatment (last dose plus 2 days) analysis in the safety population
Note: The modified RR was calculated using the observed event rate for rivaroxaban and the modified

ER for warfarin.

Modeling by Dr. Lawrence

Another analysis was created by Dr. John Lawrence of the Division of Biostatistics 1. His model
was based on the relationship between “true” (adjusted) INR and bleeding, using transformed
values of POC INR to establish the base model. His goal was to assess the impact of use of

° One would reach the same conclusion if one considered the effect of the INRatio device on the rate of
systemic embolism because (1) the rate of this event is small in comparison to either ischemic stroke or
hemorrhagic stroke in patients with atrial fibrillation taking warfarin and (2) one would expect it to move in
the same direction as ischemic stroke if it were to be modeled.

32

Reference ID: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 35 of 75

CDTL Review
NDA 202439 — Rivaroxaban (Xarelto®): Impact of use of the INRatio® device in the ROCKET AF trial

September 26, 2016

the INRatio on major bleeding in ROCKET. He did not assess its impact on other clinical
outcomes. He describes his model as foilows in his review:

"I first used the matched pairs of POC INR and LAB INR that were taken on the same day within
the same patient. These allowed me to model the relationship between true INR (assumed equal
to the LAB INR) and the POC INR. For a given observed POC INR, I imputed a true INR from
the distribution observed in the model. I used LASSO (least absolute shrinkage and selection
operator) to select the best covariates in the Cox regression model to predict Major Bleeding from
the rivaroxaban arm alone [Tibshirani, Robert. 1997. "The lasso Method for Variable Selection in
the Cox Model". Statistics in Medicine, Vol. 16, 385—-395 (1997)]. Then, I added a time varying
covariate for INR to produce a prediction model for Major Bleeding in the rivaroxaban arm. |
then used multiple imputation to impute Major Bleeding events in the warfarin arm given that
these patients’ warfarin dose would have been titrated to achieve a true INR equal to their
observed POC INR. Only subjects who had a Major Bleeding event could have had an imputed
event. For each of those patients, either they would still have an event at theta time, or they would
be censored at that time. The probability of having an event is equal to the ratio of the hazard rate
given the observed POC INR compared to their true imputed INR. I found 100 such imputed data
sets. I then combined the results from those 100 imputed datasets using the formulas from [Rubin,
D.B. (1987) Multiple Imputation for Nonresponse in Surveys. New York: Wiley & Sons].

Using this methodology, he estimated that if a device with the performance characteristics of the
device at Duke that was used to assess PK/PD study INR samples and warfarin was titrated to
the same apparent INR as was observed in the study, the number of major bleeding events in
the warfarin would be reduced by about 7%. This would result in an increase in the rivaroxaban
vs. warfarin HR for major bleeding, to 1.12 (95% Cl 0.97, 1.30). This is similar to the results of
the Florian-McDowell model (see Table 12).

Thus, the two FDA analyses are fairly consistent in their results with respect to the potential
impact that the use of the INRatio device on major bleeding. They estimated that if a more
accurate device had been used, the rate of major bleeding in the warfarin arm might have been
7% to 10% less than observed, with correspondingly small changes in the rivaroxaban vs.
warfarin hazard ratio that would disfavor rivaroxaban. [n addition, the Florian/McDowell model
estimated that the hazard ratios for life-threatening or fatal bleeding and hemorrhagic stroke,
which both favor rivaroxaban numerically, would be minimally increased, but both would still
favor rivaroxaban. The hazard ratio for ischemic stroke would be moderately changed in favor
of rivaroxaban. If ROCKET had produced results similar to the results of either of these models,
we would have approved rivaroxaban for the SPAF indication.

5.2 Modeling by Janssen

Janssen has developed analyses intended to explore the questions that FDA’s analyses
explored. The first such analysis was submitted to EMA at that agency’s request, and then sent
to us. EMA’s request was,

“Calculate “population attributable risk” in the warfarin treatment arm of the study
population based on 34% expected to have discordant INR results and the highest increased risk

as estimated in “Analysis 3” of safety outcomes (Both week |2 & 24 increase from 12.21 to
14.63 / 100 PY).

33

Reference ID: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 36 of 75

CDTL Review
NDA 202439 — Rivaroxaban (Xarelto®): impact of use of the INRatio@ device in the ROCKET AF trial

September 26, 2016

“Apply the result to explore to what extent the event rates for the warfarin group in the table for
safety analyses results as summarized in the SmPC (Table 2) would be reduced.

“Calculate corresponding risk ratios comparable to the available hazard ratios (HR). In
recalculating HRs a worst case assumption should be made and consequently remove the earliest
events.”

Note that this request applies only safety endpoints.
Janssen’s analysis was constructed as follows:

“For each of the safety outcomes summarized in the SmPC (Table 4: Safety results from phase HI
ROCKET AFP) a modified warfarin event rate (events per 100 pt-yr) was derived for the total
Warfarin cohort of the ROCKET AF trial. This modified warfarin event rate is contrasted to the
reported rate for the total Rivaroxaban cohort as given in the SmPC (Table 4) via a rate ratio and the
resulting rate ratio point estimate would then be contrasted to the SmPC reported hazard ratio as a
descriptive measure.

“The modified warfarin event rate is based on the Device and Lab based INR inconsistency criterion
of the Device based INR value lower than the Lab based INR by at least one category using the
categories of <2, 2-3, 3-4, >4 and is derived as follows:

“The warfarin event rate from the two subgroups of subjects WITH (here denoted R1) and
WITHOUT (here denoted RO) Device INR Lower Than Lab INR by at Least One Category at Both
Week 12 and Week 24 .... was taken to derive a total warfarin rate (here denoted Ryoy) as a
weighted average of these two rates assuming that 34% (taking the percentage as requested by EMA)
of the weight is for the subgroups of subjects WITH Device INR Lower Than Lab INR by at Least
One Category at Both Week 12 and Week 24 (i.¢.=0.34*R1+0.66*RO).

“A “population attributable (risk) fraction” (here denoted as PARF) is calculated as the ratio of the
difference of the total warfarin rate minus the rate for subjects WITHOUT Device INR Lower Than
Lab INR by at Least One Category at Both Week 12 and Week 24 to the total warfarin rate (i.e.
PARF=(Ryor-RO/Rror)

“The warfarin rate reported in the SmPC for the total warfarin cohort (which includes the two
warfarin subgroups above who had paired INRs as well as a third subgroup of warfarin subjects who
did not have paired INRs) was then “deflated” by a factor of (1-PARF) to get a modified warfarin
event rate (i.e. multiply the annualized warfarin event rate reported in the SmPC by the factor
(1-PARF) ) which was then used to calculate the rate ratio.

“Please note that the rate “deflation factor” (1-PARF) is also applied to warfarin subjects who do
not have paired INR: measurements at Both Week 12 and Week 24, which is one of the
limitations of this approach.”

Basically, this approach focusses on the event rates for bleeding endpoints in patients whose
Week 12 and Week 24 POC INR both were lower by at least one category (using the categories
defined in the quote above) than the LAB INR category (R1) and in patients who do not meet
this requirement (RO). A weighted average of R1 and RO rate is used to create a “deflator” that
is used to adjust the rate of bleeding in the warfarin arm. This average weights R1 at 34%,

34

Reference ID; 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 37 of 75

CDTL Review
NDA 202439 - Rivaroxaban (Xarelto®): Impact of use of the INRatio® device in the ROCKET AF trial

September 26, 2016

even though patients who met the criteria for R1 totaled only 782 of 5048 subjects with Week 12
and Week 24 INR pairs (15.5%).

Results of this analysis are shown in Table 13. Compared to the observed data for the warfarin
arm, the adjusted data showed at most a small decrease in the rate of various types of bleeding
that were analyzed. The risk ratio for rivaroxaban vs. warfarin was either essentially unchanged
or at most modestly elevated from the observed values.

Table 13 ROCKET AF: Attributable Risk Analysis
Effects on Warfarin Arm Bleeding Rates

Major & non-

major CR ~
bleeding
Major 395 386 1.04
bleeding (3.60) (3.45) (0.90, 1.20) 84 = 3.38 1.08

“Death dueto

‘bleeding
Intracranial 55 84 0.67
hemorrhage (0.49) (0.74) (0.47, 0.93) 986 = 9.74 0.66

Safety population, on treatment
See text for explanation of modified rates
Source: Janssen submission dated 16 January 2016; EMA Assessment Report dated 10 February 2016

(htto:/www.ema.europa.eu/docs/en GB/document librarw/EPAR - Assessment Report -
Variation/numan/000944/WC500201726.pdf)

We were concerned that the validity of this analysis might be affected by the small number of
subjects included in the high-risk cohort of the analysis, as well as the use of Week 12 and
Week 24 data to predict the course of events over the entire study. Accordingly, FDA requested
Janssen to create one or more models with the same aim as the attributable risk analysis, but
with different methodologies and modeling techniques. We suggested that they mode! ischemic
stroke, the primary endpoint, hemorrhagic stroke, major bleeding, and life-threatening/fatal
bleeding in warfarin arm subjects. We requested that they include any covariates that they
thought were appropriate and to account for the observed variability in the POC to Lab INR ratio
within and between patients. On the basis of the developed models, modified warfarin arm
event rates would be derived and compared to the observed rivaroxaban arm event rates for the
specified endpoints.

35

Reference ID: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 38 of 75

CDTL Review
NDA 202439 ~ Rivaroxaban (Xarelto®): Impact of use of the INRatio® device in the ROCKET AF trial

September 26, 2016

Janssen then responded on June 23, 2016 by submitting 4 analyses. The methodology of one
of these analyses (Analysis 4) corresponded closely to our analyses, but the other 3 did not.
Features of the 4 analyses are described in Table 14. All analyses had three main steps: (1)
Using the Cox proportional hazard model, they examined the relationship between INR (each
analysis used a different INR value) and the outcome event of interest while controlling for other
covariates, which are listed in Table 14, (2) On the basis of the developed Cox model for each
outcome event, they calculated the predicted changes in warfarin event rate based on the
assumption that “true INR” was 0.3 higher than POC INR (median difference between the POC
and laboratory INR values). '° (3) They calculated the adjusted warfarin event rates and
adjusted rate ratios between rivaroxaban and warfarin using the observed rivaroxaban event
rates and the adjusted warfarin event rates.

Table 14 INR Value and Covariates Used to Examine the Relationship between INR and
the Outcome Event of Interest

Choice of INR vaiue Covariates Outcome event
Analysis 1 | Mean Lab INR at Week 12 and For analysis of bleeding -Major bleeding
Week24 endpoints: age, sex, diastolic -Life threatening
blood pressure, baseline aspirin and fatal bleeding
use, history of chronic obstructive ~Hemorrhagic
. pulmonary disease, history of stroke
Analysis 2 | Mean POC INR gastrointestinal bleed, and history | -lschemic stroke
of anemia -Primary efficacy
endpoint

Analysis 3 | Proportions of POC INR values For analysis of efficacy endpoints:
in different ranges: <1, 1to <1.5, | baseline CHADS2 score

1.5 to <2, 2 to <2.5, 2.5 to 3, >3
to <3.5, 3.5 to <4, 24

Analysis 4 | Last INR before or on the day of
event or censoring

Among the four analyses, Janssen commented that Analysis 4 using the last INR value before
or on the day of event or censoring is most likely to be informative regarding rates of the
modeled events (ischemic stroke or hemorrhagic events) due to the close temporal relationship
of observed events with the INR values used in the model.

We agree with Janssen that the approach used in Analysis 4 is probably the most valid way of
building a model using the ROCKET results to estimate the effects of INR on outcomes in

10” median INR difference of 0.3 between POC and lab values was used for Analysis 1, Analysis 2 and
Analysis 4. For Analysis 3, Janssen fitted a regression model to the paired (i.e. POC and laboratory-
based) INR samples at visit Week 12 and 24 and used this model to transform the POC INR values and
assess potential changes of warfarin INR event rate. Janssen did not provide additional details about this
particular analysis.

36

Reference ID: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 39 of 75

CDTL Review
NDA 202439 ~— Rivaroxaban (Xarelto®): Impact of use of the INRatio® device in the ROCKET AF trial

September 26, 2016

patients with AF taking warfarin. Analysis 1 used mean Lab INR to create the model. Analysis
2 used mean POC INR for this purpose. Both mean LAB INR and mean POC INR may not
reflect the peaks and valleys of INR over the course of the study that we believe contribute to
bleeding and ischemic events, respectively, in some patients. In addition, mean LAB INR is
derived from values at Weeks 12 and 24, which may not predict INR and the risk of events after
a year or more on treatment. Analysis 3 may attempt to account for the variability of INR over
time, but it yielded a modified warfarin arm major bleeding rate that was higher than the
observed rate, along with a large percentage reduction in the rate of hemorrhagic stroke. The
increase in major bleeding is illogical because with a lower INR, one would expect less major
bieeding, not more. The hemorrhagic stroke rate moved in the expected direction, but the
percentage change was quite large and not consistent with a modest reduction in INR.
Accordingly we think that Analysis 4 is the most reasonable approach, and the discussion below
focusses on the results obtained with this analysis. For results with the other models, see

Appendix 2 below.

Results for Analysis 4 are shown tn Table 15. The adjusted warfarin event rates and modified
hazard ratios are only modestly different from those reported in the trial, and all move in the
direction consistent with what one would have predicted when modeling to a lower INR. These
findings are consistent with the FDA analyses suggesting that the impact of erroneous POG
device on the ROCKET irial results was small.

Table 15 ROCKET AF: Modeling with Last POC INR as Covariate - Modified Hazard
Ratios Using the Adjusted Warfarin Arm Rates and the Observed Rivaroxaban Arm Rates
(Janssen’s Analysis 4; Safety Population, On-Treatment)

*The adjustment reflected the median difference of 0.3 units for LAB INR minus POC INR that was

observed in ROCKET.
Source: Submission of June 23, 2016

6 Data from Other Studies of Rivaroxaban

Three other studies of rivaroxaban have been performed that used a dose similar to or higher
than the dose used in ROCKET. These studies had comparator arms or cohorts that included
warfarin dosed in the same manner as in ROCKET or another DOAC, dabigatran. None of
these studies used the Alere device to assess INR, and none suggested that rivaroxaban had
reduced efficacy or a markedly worse bleeding profile than the control arm or cohort. By

37

Reference ID: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 40 of 75

CDTL Review
NDA 202439 — Rivaroxaban (Xarello®): Impact of use of the INRatio@ device in the ROCKET AF trial

September 26, 2016
implication, they support the conclusion that the effect of the Alere device on the outcome of
ROCKET was not substantial and shouid not affect our interpretation of the study results.

6.1. EINSTEIN DVT/PE

The EINSTEIN DVT and EINSTEIN PE (pulmonary embolism) studies were two active
controlled, open-label RCTs in patients with acute deep vein thrombosis and pulmonary
embolism, respectively. These studies supported the approval of rivaroxaban for its DVT and
PE treatment indications. The goal of each study was to demonstrate the non-inferiority of
rivaroxaban to an active control with regard to the rate of recurrent thrombotic events (either
DVT or PE in each of the studies). Many features of the two studies were similar. Patients
were randomized to open-label treatment (with a duration of 3, 6, or 12 months at discretion of
investigator) with either:

e Rivaroxaban 15 mg bid (30 mg daily) with food X 3 weeks, then 20 mg daily with food to
end of treatment, or

¢ Enoxaparin 1 mg/kg SC bid for >= 5 d, + a vitamin K antagonist started no later than day
2 and maintained to the end of treatment. Enoxaparin was discontinued when INR
>=2.0 x 2 days, but no earlier than day 5. The INR target was 2.0-3.0, similar to
ROCKET.

Notably, thrombotic and bleeding events were adjudicated centrally in a blinded fashion. This
would reduce, but not eliminate, the potential impact of investigator bias in assessing study
outcomes on the study results in these open-label studies.

In each of the two studies, the treatment arms had very similar distributions with respect to the
percentage of patient who were selected for the 3 protocol specified treatment durations:

Assigned duration of treatment: 3.mo 6 mo 12 mo
Einstein DVT

Rivaroxaban (% of patients) 12.0 62.6 25.4
Enoxaparin/VKA (% of patients) 11.8 63.0 25.1
Einstein PE

Rivaroxaban (% of patients) 5.3 57.3 37.4
Enoxaparin/VKA (% of patients) 5.1 57.5 37.5

TTR in each of the EINSTEIN studies during VKA treatment was better than in ROCKET. Each
study met its non-inferiority goal for prevention of recurrent DVT or PE. Bleeding data in the
pooled studies favored the rivaroxaban regimen over the enoxaparin/VKA regimen with respect
to ISTH major bleeding, but the treatment arms had similar rates of less serious bleeding and
overall bleeding (Table 16). Note that the rivaroxaban dose used in this study, 15 mg bid for 3
weeks, followed by 20 mg once daily for the duration of treatment, was more intense than the
regimen used in ROCKET, which was 20 mg once daily throughout the study. This study is
reassuring with respect to the bleeding risk of rivaroxaban 20 mg daily.

38

Reference ID: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 41 of 75

CDTL Review
NDA 202439 — Rivaroxaban (Xarelto®): Impact of use of the INRatio® device in the ROCKET AF trial

September 26, 2016

Table 16 EINSTEIN DVT/PE: Bleeding Results

ISTH major bleeding AO (1.0) 72.1.7)
Fatal bleeding 3(<0.1) 8 (0.2)
“Intracranial 2 (0.4) 4(<0.1)
Non-fatal critical organ bleeding 10 (0.2) 29 (0.7)
Intracranial = i titststi<CSsC (OLA —-10(0.2)
Retroperitoneal 1 (<0.1) 8 (0.2)
Intraocular Oo 8604). 2(<0.1)
Intra-articular 0 4 (<0.1)
Any bleeding 1169 (28.3) 1153 (28.0)

Source: Rivaroxaban labeling

6.1 Mini-Sentinel Observational Study: Rivaroxaban vs. Warfarin

Analysis of this study is still underway. This is a retrospective study of FDA’s Sentinel database
of insurance claims information from commercial insurers. New users of any dose of
rivaroxaban or warfarin with a diagnosis of atrial fibrillation were identified and propensity-
matched. Outcomes of interest were GI bleeding, intracranial hemorrhage (including
hemorrhagic stroke) and ischemic stroke, based on inpatient primary discharge codes and were
measured using a sequential design. During the study period from November 2011 to April
2015, 41,648 new users of rivaroxaban and 89,080 new users of warfarin who met the study
inclusion criteria were identified. After propensity matching based on demographic and disease-
based factors, the two cohorts were reduced to 36,129 and 88,982 closely matched subjects,
respectively. The average follow-up time on treatment was 0.23 years for the rivaroxaban
cohort and 0.19 years for the warfarin cohort.

in the final analysis period, the HR for Gi bleeding and intracranial hemorrhage were
directionally similar to those observed in ROCKET. In contrast to ROCKET’s results, a reduction
in risk of ischemic stroke for rivaroxaban compared to warfarin was observed , a finding that is
consistent with the modeling exercises described above (rivaroxaban might have more bleeding
risk and more antithrombotic efficacy relative to warfarin than was observed in ROCKET). The
beneficial effect on intracranial hemorrhage observed with rivaroxaban in ROCKET appeared
slightly attenuated in the Sentinel analysis (Table 17). The HR for GI bleeding in the Sentinel
study (1.30) is lower than that observed in ROCKET (1.61) suggesting that rivaroxaban is
associated with less GI bleeding compared to warfarin than ROCKET would predict. The Gl
outcome was not modeled in the previous analyses. Although these analyses are still being
finalized, they do not raise safety signals regarding bleeding risks for rivaroxaban. It is

39

Reference ID: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 42 of 75

CDTL Review
NDA 202439 — Rivaroxaban (Xarelto®): Impact of use of the INRatio@ device in the ROCKET AF trial

September 26, 2016

important to remember that the Sentinel analysis is not a randomized study and may be
confounded by differences between the cohorts that are not understood.

Table 17 Mini-Sentinel Observational Study of Rivaroxaban vs. Warfarin: Bleeding and
Ischemic Stroke Outcomes

Glbleeding : 16.59 1,80(4.18, 1.4

Intracranial hemorrhage -3.92 0.73 (0.57, 0.94) 0.67 (0.47, 0.93)

1R=Incidence rate .
Results from ROCKET shown for comparison

6.2 Medicare Database Observational Study: Rivaroxaban vs. Dabigatran

To be complete in describing FDA’s pharmacovigilance efforts involving rivaroxaban, this study
of rivaroxaban vs. warfarin in Medicare is presented. However, without inclusion of a
control/warfarin arm, it is unclear how relevant these results are to the investigation of INR
device issues in the ROCKET trial. This study was performed using the CMS Medicare claims
database and is pending publication. Subjects included persons age 65 or older with atrial
fibrillation who were new users of rivaroxaban 20 mg (~66,000) or dabigatran 150 mg bid
(~52,000) during the study period of November 2011 to June 2014. Outcomes of interest were
the same as in the previously discussed study: Gl bleeding, intracranial hemorrhage and
ischemic stroke.

After propensity matching, the two treatment cohorts were similar in terms of demography and
relevant medical history. Only10% of subjects were followed for more than 240 days. Results
of this study indicate that there was a greater rate of observed GI bleeding and intracranial
hemorrhage and a reduced rate of ischemic stroke with rivaroxaban compared to dabigatran
(Table 18). Like for the Mini-Sentinel study, this study was not randomized and the results
should be interpreted cautiously.

40

Reference ID: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 43 of 75

CDTL Review
NDA 202439 — Rivaroxaban (Xarelto®): Impact of use of the INRatio® device in the ROCKET AF trial

September 26, 2016

Table 18 Medicare Database Observation Study of Rivaroxaban vs. Dabigatran: Bleeding
and Ischemic Stroke Outcomes

GI bleeding 0.74 (0.63, 0.81)

intracranial hemorrhage 0.61 (0.44, 0.83)

ischemic stroke ae 18.

4.24 (0.99, 1.55)
IR=Incidence rate - .

7 Discussion

The available evidence from ROCKET, based on comparisons between same-day pairs of POC
INR determined by the INRatio device and LAB INR, indicates that POC INR, which the
investigators used to guide warfarin management, was a mean of 13% less than the INR
analyzed at Duke with a laboratory-based assay at the end of the study. FDA’s analysis
indicates that storage of these samples did not seem to affect INR. Janssen’s analyses indicate
that patients with or without one of the conditions listed in Alere’s December 2014 recail notice
and described as being associated with low INR readings with the INRatio device had a similar
rate of low INRs and also similar rates of bleeding events. This suggests that Alere’s claim that
inaccuracy of the device occurs only in patients with the specific conditions described in the
recall notice is spurious. Instead, the data suggest that all warfarin arm patients in ROCKET
appeared to be affected by the inaccuracy of the device.

The data thus imply that patients in the warfarin arm of ROCKET may have been unintentionally
over-anticoagulated to some degree. This would lead to an increased risk of bleeding
compared to what would be expected if the INRatio device produced results similar to those
produced by the laboratory-based device at Duke. Conversely, it is possible that some of these
patients benefitted from being over-anticoagulated by having a reduced rate of ischemic stroke
compared to what would be expected with a device that did not report falsely low INR values.

Both FDA and Janssen performed mathematical modeling of the ROCKET data to estimate how
the rates of major bleeding, hemorrhagic stroke, ischemic stroke and several other important
outcomes were affected by use of the INRatio device. Several approaches to madeling were
used. Three of the models used INR values closest.to a bleeding or efficacy event to establish
INR vs. response relationships for the relevant event. We believe that this approach most
accurately estimates the risk of bleeding or thrombotic events. These three models estimated
that use of the INRatio had madest effects on study outcomes in warfarin arm patients in the
directions described above. in particular, the models estimated that use of an INR monitoring
device that did not read low would have resulted in rates of major bleeding that were 7% to 10%
lower than the observed rate of major bleeding in the ROCKET warfarin arm, along with
reciprocal increases in the hazard or risk ratios for rivaroxaban vs. warfarin, i.e., changes
disfavoring rivaroxaban.

41

Reference ID: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 44 of 75

CDTL Review
NDA 202439 ~ Rivaroxaban (Xarelto®): Impact of use of the INRatio® device in the ROCKET AF trial

September 26, 2016

Of the three models that based on INRs closest to endpoint events, the two models that
included results for hemorrhagic stroke estimated that the rate of this event would be negligibly
changed. However, the estimated increase in bleeding risk would be too small to change our
prior assessment that the benefits of rivaroxaban, compared to warfarin, outweighed its risks.

Notably, the two models that analyzed ischemic stroke estimated that rate of this event in the
warfarin arm rate would have been modestly increased with use a device that did not produce
falsely low INR results. This would result in a reciprocal decrease in the hazard or risk ratio for
ischemic stroke, thus favoring rivaroxaban. The net effect on the primary endpoint would be
driven by the ischemic stroke results, and would also favor rivaroxaban. Thus, a fortiori, we
would conclude that based on these hypothetical results, the benefits of rivaroxaban would still
outweigh its risks relative to warfarin. Data from other studies of rivaroxaban support this

conclusion.

Accordingly, the reviewers see no need for regulatory action at this time. We think that a
labeling change to describe the modeling results would very difficult to write in a concise
manner and might be more likely to confuse than to edify, and is not warranted. FDA might
make a brief announcement regarding our conclusions and make this review or a summary of it
available to the public online. A publication of our analyses in a journal might be desirable. If
others think it is important to change labeling, we might add a simple statement that FDA has
reviewed the INR and outcomes information in ROCKET and determined that the effect of use
of the INRatio device on outcomes in ROCKET was too small to affect our prior conclusion that
the benefits of rivaroxaban outweigh its risks relative to warfarin.

42

Reference ID: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 45 of 75

CDTL Review
NDA 202439 -- Rivaroxaban (Xarelto®). Impact of use of the INRatio® device in the ROCKET AF trial

September 26, 2016
Appendix 1 Proportional Color Block Display of POC INR vs. LAB INR

The two plots in Figure 8 are visual representations of the data in Table 10 (reproduced below for
convenience), which is a cross-tabulation of categorized values of POC INR vs. same-day LAB INR. In
plot A, each of the 6 numbered vertical columns represents one of the 6 POC INR categories (groups)
shown to the right of the plot. The width of each column is proportional to the ratio of the total N of
patients represented in the column to 6225, the total number of patients represented in the plot. The
height of each color block in the column is proportional to the ratio of the number of patients in the
relevant group of LAB INR to the total number of patients represented in the column. Each group of LAB
INR is represented by a color defined in the color block key at the top right of the plot, labeled “Lab Group
B.” The color blocks are arrayed within each column with Group 1 (LAB INR <1.5) at the bottom of each
column, progressing up to Group 6 (LAB INR >6) at the top. There is one cross hatched color biock in
each column that represents the block where an individual's POC INR and LAB INR groups are
concordant.

Plot B is analogous to Plot A, but the axes are reversed: each column represents a group of LAB INR
and each color block represents patients within the column whose POC INR group corresponds to the
color block key. INR groups and the color block key are the same in the two plots, as are rules for the
width of columns and height of each color block.

It is easy to appreciate in Plot A that when POC INR is the target range or near it (POC INR groups 2, 3
and 4) the number of patients with a LAB INR group number greater than the value concordant with the
POC INR group (represented by the area in the column above the hatched block) is much greater than
the number of patients whose LAB INR is in one of the groups with a number less than that of the
concordant biock (corresponding to the area in the column below the hatched block).

The inverse is in true for Plot B, where the columns represent LAB INR groups. Also, it is obvious that for
patients in LAB INR group 4 (INR >3 to 4), the number of patients with a concordant POC INR is less than
the number patients with POC INR in group 3. The situation is similar for those with LAB INR in group 5,
where the number of patients with a concordant POC INR is smaller than then number with a POC INR in
group 4, and there is a substantial fraction of patients with LAB INR in group 5 and POC INR in group 3
(i.e., the nominal INR is in the target range but the LAB INR is in the range of 4 to 6). These results
suggest that the risk of bleeding related to elevated INR might be increased by use of the INRatio device.

Table 10 ROCKET AF: Categorical Analysis of POC vs. LAB INR at Week 12 or 24; Treated
Patients, Warfarin Arm

Total 455 7.3 836 13.4 2674 43.0 1411 22.7 628 10.1 221 3.6 6225 100
Notes: INR Groups: 1, <1.5; 2,1.5to<2; 3,2to3; 4,>3to4; 5,>4to6; 6,>6

43

Reference ID: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 46 of 75

CDTL Review
NDA 202439 — Rivaroxaban (Xarelto®): impact of use of the INRatio® device in the ROCKET AF trial

September 26, 2016

Figure 8 ROCKET AF: Proportional Color Block Plot of Lab INR vs. POC INR
Treated Patients, Warfarin Arm (N=6225)

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POC INR Group
Plot B
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>3-4
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>6

0.00

2 3 - 4 5 C6
LAB INR Grp

LAB INR Group

44

Reference ID: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 47 of 75

CDTL Review
NDA 202439 — Rivaroxaban (Xarelto®): Impact of use of the INRatio® device in the ROCKET AF trial
September 26, 2016

Appendix 2 Modeling by Janssen

The information below is from a submission of modeling data dated June 23, 2016.

Analysis 1: Mean Lab INR as Covariate - modified hazard ratios using the adjusted warfarin
event rates and the observed rivaroxaban event rates (Adjustment based on 0.3 median
difference in INR)

Major = —=§36 3.45. 1.04 0.90, 0.20
bleed a :
Fatal
bleed
_ Hem. 0.26 =0.44_—sOO.S9: 0.37, 0.93 0.41 0.64

Ischemic 4 34 1.42 0.94 0.75,1.17 1.39 0.96

0.24 0.48 0.5 0.31,0.79 0.46 0.52

stroke

point

Analysis 2: Mean POC INR as Covariate - modified hazard ratios using the adjusted warfarin
arm rates and the observed rivaroxaban arm rates

-0,90,0.20 |
0.24 0.48 0.5 0.31,0.79 0.31 0.77

— 0.26 0.44 0.59 0.37,0.93 0.31 0.85

Stroke

Ischemic 434 ©6142 0.94 0.75,1.17 185 0.73
stroke . . es

“17-245 0.79 0.65,0.95 252 0.68

45

Reference ID: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 48 of 75

' CDTL Review
NDA 202439 ~ Rivaroxaban (Xarelto®): Impact of use of the INRatio® device in the ROCKET AF trial

September 26, 2016

Analysis 3: Proportions of Imputed POC INR - modified hazard ratios using the adjusted
warfarin event rates and the observed rivaroxaban event rates

Melor «3.6 = 3.45.—«1.04 0.90,0.20 4.16
Fatal
bleed
Hem. 0.26 0.44 0,59 0.37,0.93 _

Stroke oe oe

Ischemic 134 142 0.94 0.75,1.17 2.02 0.66

0.24 0.48 O.5 0.31, 0.79

1.7 2.15. 0.79 0.65, 0.95.

Analysis 4: Last POC INR as Covariate - modified hazard ratios using the adjusted warfarin arm
rates and the observed rivaroxaban arm rates

0.24 0.48 O.5 0.31,0.79 0.42 0.57

Hem. 0.26 «0.44 0.59 0.37,0.93 0.
Ischemic 4.34 1.42 (0.94 0.75,1.17 1.58 0.85
stroke
Primary oe
efficacy. 47 2.15 0.79 0.65,0.95 — 2.23 78

endpoint ——~ a eR ee

46

Reference ID: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 49 of 75

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/s/

MARTIN ROSE
09/26/2016

Reference ID: 3990736
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 50 of 75

U.S. Department of Health and Human Services
Food and Drug Administration

Center for Drug Evaluation and Research
Office of Translational Sciences

Office of Biostatistics

STATISTICAL REVIEW AND EVALUATION

CLINICAL STUDIES

NDA/BLA #: NDA 202-439

Supplement #:

Drug Name: Xarelto (rivaroxaban)

Indication(s): Delay time to stroke or systemic embolic event in patients with
Atrial Fibrillation

Applicant: Janssen Pharmaceuticals

Date(s): 9/10,16

Review Priority: Standard

Biometrics Division: DBI

Statistical Reviewer: John Lawrence, Ph D

Concurring Reviewers: Jim Hung

Medical Division: Cardiorenal.

Clinical Team: Tzu-Yun McDowell PhD, Martin Rose MD
Project Manager: Bridget Kane

Keywords: active control/non-inferiority, Cox regression, |

Reference ID: 3984169
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 51 of 75

Table of Contents

EXECUTIVE SUMMARY Vou eccccscceescnrerenaseensesaeneesenneeeesanneeeeessnaeeeeeeaeuseeueeseseaeeeeeGseaes eRe EEHAESISECEERAEOERIAGOHD EE EOEEEHEE 4
INTRODUCTION uu... cccccsccesscsssscesrssesernsnnsvavesaarsssonvsevsnssneesesssvsessecsassauenesseseavscsenenseususesessesussensessassnssossseeseesessureresnensene 5
1] OVERVIEW. ccccccccccecceneeccssecenecnnaeceeeneenecne sone etne pene eet gE Dt ee UGE EO ES CHAUDAC CEU ET EIEELEED ENO ES png E SEDO E EES eriteedvetehenbetseneeesnrenniera 5
1.2 DATA SOURCES coccccccccccecsccscsesscescseesesasesceceseseceeesenesieeecieceenesaceesaesrenausesessenesserseecnseesieeessseteasisereeserssetssensnarere 5
STATISTICAL EVALUATION occ cessssesssseesscennscesseteseesereensesenseeaeeserenesearsesseendssesesseeeussresusesssecsvageeeeseesssseeneres 5

1.3 DATA AND ANALYSIS QUALITY

1.4 EVALUATION OF EFFICACY .00.....0.-

141 Study Design antl ENADOIAUS ....cccccccccceccececeeeene sees ecsscenseneeeeneecerseeesnageceastisecsstsessates
1.4.2 Statistical Methodologies .cccccccccccccccceccecet cece cnc ene ene ene cnesiceeneseieee cs ceeaessastenssneersutsesseessensaesseessereraess 6
1.4.3 Patient Disposition, Demographic and Baseline ChAaracteristics.....cccccccccc ict ter iets te reece neeneee 6
1.4.4 Results and CONCHISIONS .occcccccccccecseeceetceerececte eens eee e ene teeeeeeecesenadeseaaceae ees aesenseetaneesnereensceerenenseseepeneeverenta 6
1.5 EVALUATION OF SAFETY .o.ccccccccccccceescecececceeenaesaeaceeeeecesseeeesnas ecannenaaeeeeeegeeeseseceseeeeeesencneneeseensentaceeeccneunueneneeeees 10
1.6 BENEFIT-RISK ASSESSMENT (OPTIONAL) ....cccccccscssssssssssesseseesereessucesevcecsnsesanscseseceececsassesaneantansessieseeeseeesaey li
FINDINGS IN SPECIAL/SUBG ROUP POPULATIONS uc sccsesscssevsreseccnecssssnvsresssssseuscesnssnneneconsoaressaseceavatesees 1
1.7. GENDER, RACE, AGE, AND GEOGRAPHIC REGION voccccccccccccssssesssssesssecoussrsrsessesseessessanessateavesseeesseatesessserees il
1.8 OTHER SPECIAL/SUBGROUP POPULATIONS .ccccccccccesececceecereseevenseenseenenaneeeetoscnaeeeceieeeesneensengaeeseenesennesetennenas 11
SUMMARY AND CONCLUSIONS ..icsccscsseserersersesesssscssesesescesssstusanssnsauessssssasssecesneoserecsecsareneatoneseecenssseeneeneseareny li
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L100 COLLECTIVE EVIDENCE......ccccccccccccccccececessscnneerecececeeeesteseencnnnaneeesaaceseaceaceseseeerererecccesnaesegesssnsaeeresennanassesegeress 11
1.11 CONCLUSIONS AND RECOMMENDATIONS .....c.cccccccccssneteneeeeecerecesencneeseresesseseseceeuensnessesesesiseeseesnennetersesteneneenee 12
1.12 LABELING RECOMMENDATIONS (AS APPLICABLE) .....cccccccsccsscssecseeececeeeceeaseetneeeceeesnersneeesseeeeesseessatenaeeeneneeers 12
2

Reference ID: 3984169
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 52 of 75

LIST OF TABLES

No table of figures entries found.

LIST OF FIGURES
Figure | Scatterplot of POC INR versus LAB INR at matched time points for patients in the warfarin arm. ............
Figure 2 Scatterplot of POC INR versus LAB INR at matched time points for patients in the warfarin arm. .............. 8
Figure 3 Loess regression model showing relationship between Days in Freezer and ratio of LAB INR to POC INR.
cecceacecvnansuaevacseyenseusncsssunssecasseseeesauaeessaneseeneeceeeneseeseeseedesenseeeeseneeseesdssdedSeSHe/sS#0C0scsEsAEeUSreGSSIA cd sass GaHAOEOEEGSSFEOHEECGepeeaananeesenaenes 9
Figure 4 Loess regression model showing relationship between Calendar Date of LAB INR analysis and ratio of
LAB ENR to POC INR. .ccccccccccceseccescceseeeeceeeeeceeeseneesensseenecseececeeneeneenenevessnuenesssaseensvecsersesenssensnrenesssiseenenseneeganersaeegs 10
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Reference ID: 3984169
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 53 of 75

EXECUTIVE SUMMARY

Xarelto (rivaroxaban, NDA 202439) was approved for patients with atrial fibrillation based on
the results of the ROCKET-AF study. ROCKET-AF was a double-blind non-inferiority study
using the active control warafarin. Warfarin dose needs to be adjusted in patients based on the
observed INR (International Normalized Ratio), a measure of the clotting tendency of the
patient's blood. Many different factors can affect the INR; monitoring and warfarin dose
adjustment is frequent. If the INR is too high, the blood cannot clot and bleeding events will
occur more frequently, sometimes fatal. Conversely, if the INR is too low, then blood will clot
too quickly and ischemic strokes and SEE (systemic embolic events) will occur more frequently.
The goal of warfarin therapy is to keep the INR between 2.0 and 3.0. In the ROCKET-AF study,
a POC (Point-Of-Care) device was used to measure the patient's INR quickly in the clinic. A
dummy INR was generated and given for the patients randomized to the test arm of the study. In
addition to these POC generated INR values, there were a small number of blood samples
(approximately 2 per subject) sent to a central laboratory where the INR was measured in a more
reliable way. After the study was completed and after Xarelto was approved, it was found that
the POC INR was consistently lower than these more reliable laboratory INR values. It 1s
reasonable to assume that the warfarin dose was, in many patients, higher than it would have
been if the POC device had been operating correctly. If that is true, then there were more
bleeding events in the warfarin arm than there should have been. Hence, the Xarelto arm
appeared safer in comparison to this warfarin arm than it would have appeared if the patients had
been dosed correctly with warfarin. In the trial, the hazard ratio for Major Bleeding, Life
Threatening Bleeding, and other ways of defining bleeding were all less than | (in favor of
Xarelto). I re-examined these results in light of the knowledge about the POC device. I imputed
"true" INR values and also imputed bleeding events assuming lower hazard rate in the warfarin
arm. For example, if the observed POC INR for a patient at a particular time was 2.5, then a true
INR might be 3.5. If the patient actually had a bleeding event 3 days later, would the patient have
still had a bleeding event if the doctor had known their true INR was 3.5 and had been able to
adjust the warfarin dose to make the INR 2.5? How much could these results change under
various assumptions. I used multiple imputation for the true INR values and for the bleeding
event responses. INR was used as a time varying covariate in a Cox regression model. The FDA
has also looked at other sources of data available such as post-marketing data about the rate of
reported bleeding for Xarelto and bleeding rates in the warfarin arm from other atrial fibrillation
studies, Given all of these analyses, it appears that the faulty device had a minor impact on the
bleeding rate in the warfarin arm in the ROCKET —AF trial. Rivaroxaban is still judged to be
safe and effective based on the results from that trial.

Reference ID: 3984169
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 54 of 75

INTRODUCTION

1.1 Overview

In the ROCKET-AF trial, 14264 patients were randomized to rivaroxaban or warfarin and
followed for a median of 1.6 years. This was an active control trial with a non-inferiority margin
of 1.38 for the primary endpoint of time to stroke or systemic embolism (SEE). Rivaroxaban was
deomstrated non-inferior to warfarin [HR 0.88 with 95% Cl of (0.74, 1.03)]. During the trial, a
point of care device was used to guide warfarin dosing. In addition, blood samples were taken
from most patients at Week 12 and Week 24 and frozen for future PK analysis. Approximately
6000 patients from the warfarin arm had at least one blood sample. These samples were later
analyzed and the POC INR was found to be biased relative to the laboratory INR. This review
describes the re-analysis of the results by imputing true INR in the trial to examine what might
have happened had the POC device been operating properly.

1.2 Data Sources

Electronic datasets and Study Reports:

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STATISTICAL EVALUATION

1.3 Data and Analysis Quality
NA

1.4 Evaluation of Efficacy

The issue with the POC INR does not affect the efficacy assessment from the original NDA
review. Patients in the warfarin arm were receiving an effective dose of warfarin, possibly too

high.

Reference ID: 3984169
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 55 of 75

1.4.1 Study Design and Endpoints

The endpoint used in this review is the time to first Major Bleeding event. Major bleeding was
defined as clinically overt bleeding associated with a decrease in hemoglobin of = 2 g/dL,
transfusion of > 2 units of packed red blood cells or whole blood, bleeding at a critical site, or

with a fatal outcome.

1.4.2 Statistical Methodologies

I first used the matched pairs of POC INR and LAB INR that were taken on the same day within
the same patient. These allowed me to model the relationship between true INR (assumed equal
to the LAB INR) and the POC INR. For a given observed POC INR, I imputed a true INR from
the distribution observed in the model. I used LASSO (least absolute shrinkage and selection
operator) to select the best covariates in the Cox regression model to predict Major Bleeding
from the rivaroxaban arm alone [Tibshirani, Robert. 1997. "The lasso Method for Variable
Selection in the Cox Model". Statistics in Medicine, Vol. 16, 385-395 (1997)]. Then, I added a
time varying covariate for INR to produce a prediction model for Major Bleeding in the
rivaroxaban arm. I then used multiple imputation to impute Major Bleeding events in the
warfarin arm given that these patients's warfarin dose would have been titrated to achieve a true
INR equal to their observed POC INR. Only subjects who had a Major Bleeding event could
have had an imputed event. For each of those patients, either they would still have an event at
theta time, or they would be censored at that time. The probability of having an event is equal to
the ratio of the hazard rate given the observed POC INR compared to their true imputed INR. I
found 100 such imputed data sets. J then combined the results from those 100 imputed datasets
using the formulas from [Rubin, D.B. (1987) Multiple Imputation for Nonresponse in Surveys.
New York: Wiley & Sons].

1.4.3 Patient Disposition, Demographic and Baseline Characteristics
NA.

1.4.4 Results and Conclusions
The scatterplot in Figure | shows the relationship between the POC INR and the LAB INR from
the sample taken on the same day within the same patient. The POC INR were truncated at about

6. Figure 2 shows the same scatterplot but the LAB INR have been truncated and a diagonal line is
included to show where the LAB INR would equal the POC INR.

Reference ID: 3984169
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 56 of 75

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POC INR

Figure 1 Scatterplot of POC INR versus LAB INR at matched time points for patients in the warfarin arm.

Reference ID: 3984169
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 57 of 75

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POC INR
Figure 2 Scatterplot of POC INR versus LAB INR at matched time points for patients in the warfarin arm.

Figure 3 shows effect of freezing time on the ratio of LAB INR to POC INR using locally
weighted regression. There seems to be a trend toward a higher ratio around 600 days freezing
time. Figure 4 shows the same curves with the x-axis changed to the Calendar date of the LAB
INR analysis. Because the samples from Week 12 and Week 24 seem to be the same when using
calendar date on the x-axis, I believe the effect of time on the ratio may not be an effect of
freezing time, but an effect due to conditions in the laboratory. The effect is minor and the ratio
is always greater than 1. The mean and median time in the freezer were just over 500 days and
95% of the samples had less than 800 days of freezing time.

Reference ID: 3984169
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 58 of 75

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Number of Days Between Blood Draw Date and LAB Analysis Test Date

Figure 3 Loess regression model showing relationship between Days in Freezer and ratio of LAB INR te POC
INR.

Reference ID: 3984169
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 59 of 75

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Calendar Day of Lab Analysis

Figure 4 Loess regression model showing relationship between Calendar Date of LAB INR analysis and ratio
of LAB INR to POC INR.

On average, about 360 events imputed in warfarin arm (compared to 386 observed). The estimate
of Hazard Ratio for Major Bleeding from the model and the imputed datasets is 1.12 with 95%

CI (0.97, 1.30).

15 Evaluation of Safety

NA.

Reference ID: 3984169
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 60 of 75

1.6 Benefit-Risk Assessment (Optional)
/

Given the effectiveness of Xarelto observed in the ROCKET-AF trial, the risk benefit of Xarelto
remains favorable and worthy of approval. Xarelto has not been demonstrated to be superior to
warfarin at reducing strokes (this is stated in the label and remains true). Xarelto has also not
been shown to be superior to warfarin in terms of safety (major bleeding).

FINDINGS IN SPECIAL/SUBGROUP POPULATIONS
1.7. Gender, Race, Age, and Geographic Region

NA,

1.8 Other Special/Subgroup Populations

NA.

SUMMARY AND CONCLUSIONS

1.9 Statistical Issues

Multiple imputation and modeling cannot replace data from a well-controlled clinical trial. In
this case, there was some concern about the warfarin arm when Xarelto was approved. The time
in therapeutic range for the warfarin arm was approximately 55%, where we would expect it to
be- and have seen it in other trials- close to 70%. Xarelto was approved despite that. If there had
been any new issues about efficacy, then this type of analysis used in the review could not save
ihe trial. In this case, we can still rely on the efficacy data from the trial. Given the effectiveness
and the relative importance of stroke and SEE relative to Major Bleeding, there is a moderately
large margin for error on safety. Xarelto could increase the rate of major bleeding by as much as
50% compared to warfarin and it would still be considered an approvable therapy.

1.10 Collective Evidence

NA.

Reference ID: 3984169
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 61 of 75

1.11 Conclusions and Recommendations

No actions are recommended regarding Xarelto.

1.12 Labeling Recommendations (as applicable)

The label already states that "There is insufficient experience to determine how XARELTO and
warfarin compare when warfarin therapy is well-controlled." That statement is sufficient. No

further labeling changes are recommended.

Reference ID: 3984169
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 62 of 75

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JOHN P LAWRENCE

09/10/2016
Impact of Alere INR device on interpretation of ROCKET-AF trial

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Reference ID: 3984169
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 63 of 75

Clinical Pharmacology Review

NDA 202439

Submission type Technical Report — Post-Marketing Safety
Brand name Xarelto

Generic name Rivaroxaban

Sponsor Jansen Pharmaceuticals Inc

Reviewer Tzu-Yun McDowell, PhD

Jeffry Florian, PhD

OND Division Division of Cardiovascular and Renal Products

Background

Rivaroxaban (Xarelto®), a direct oral anticoagulant (DOAC), was approved for the prevention of
stroke and systemic embolism in patients with non-valvular atrial fibrillation (AF) in 2011 based
on the confirmatory trial: “Rivaroxaban Once Daily Oral Direct Factor Xa Inhibition Compared
with Vitamin K Antagonism for Prevention of Stroke and Embolism Trial in Atrial Fibrillation
(ROCEKT AF)”. The Food and Drug Administration (FDA) was informed in September 2015
by Janssesn Research & Development LLC (JRD), the sponsor of rivaroxaban, that the point-of-
care (POC) warfarin monitoring device (i.e. Alere INRatio Monitor system) that was used to
measure the international normalized ratio (INR) and guide the warfarin dosing in the ROCKET
AF trial was subject a class | recall on December 5, 2014”. The recall correction notice was
issued based on post-marketing information indicating that the POC device may provide INR
reading lower than a plasma-based laboratory INR in patients with certain medical conditions
(e.g. Conditions associated with raised fibrinogen levels). Analysis comparing central-laboratory
INR values (Lab INR) on blood samples collected on the same day that the POC device were
performed at 12 weeks and 24 weeks (paired INR samples) in the ROCKET AF trial also showed
that POC INR was on average 13% lower compared to the Lab INR; this difference was
observed in patients regardless the medical conditions listed in the recall >. Asa result, warfarin-
treated patients in the ROCKET AF may have been over-anticoagulated due to the use of the
inaccurate POC monitoring device, potentially increasing the risk of bleeding —related events ,
including hemorrhagic stroke, but decreasing risk of ischemic strokes compared to a properly
functioning POC device. These distortions might have affected interpretation of both safety and
efficacy results in the ROCKET AF trial. Furthermore, the use of this POC device may have

Reference ID: 3984657
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 64 of 75

potentially altered the benefit-risk of rivaroxaban relative to warfarin as assessed within
ROCKET AF.

Goals

To cvaluate how use of the Alere POC device in ROCKET-AF may have impacted trial results
based on the relationship between INR and outcomes developed using the warfarin data from
other approved NOAC trials

Methods

FDA has approved four DOAC products to reduce the risk of stroke and systemic embolism in
patients with non-valvular atrial fibrillation (AF) during 2010-2015. In order to predict outcomes
in ROCKET-AF assuming a different INR POC device was used, subject-level data from the
other three warfarin-controlled and randomized DOAC clinical trials were combined in the
present analyses: (1) Randomized Evaluation of Long-term Anticoagulant Therapy (RE-LY), (2)
Apixaban for Reduction in Stroke and Other Thromboembolic Events (ARISTOTLE) and (3)
The Effective Anticoagulation with Factor Xa Next Generation in AF (ENGAGE-AF). The
justification to pool the warfarin arm data from these trials was based on the comparable nature
of the trial design, recent start and completion of all studies relative to each other, and trial
construct that follows rigorous regulatory standards. In addition, there is no information to date
to suggest that there was a systemic concern with the accuracy of the INR assessment in any of
these trials.

A total of 22,063 warfarin-treated subjects from RE-LY, ARISTOTLE and ENGAGE-AF trials
were pooled to assess the relationship between INR and the clinical outcome events of interest
including major bleeding, as defined by the International Society of Thrombosis and
Haemostasis (ISTH)’, life threatening and fatal bleeding using the definition for Global Use of
Strategies to Open Occluded Arteries (GUSTO) sever major bleeding along with fatal bleeding,
hemorrhagic stroke, and ischemic stroke. In these trials, INR was measured at least monthly for a
majority of warfarin-treated subjects and warfarin was dose-adjusted to achieve an INR between
2.0 to 3.0. Median INR value in patients from thesc trials based on last INR proximal to the time
of event or censoring was 2.3 with an interquartile range of 1.9 to 2.8.

For each outcome of interest, a multivariate Cox proportional hazard (PH) model was developed
to examine the time to the first occurrence of an on-treatment event as a function of INR and
other patient covariates. On-treatment was defined as the period between administration of the
first dose of the study drug and the pre-specified days (between 2-5 days, it slightly varied across
trials based on half-life of each study drug) after the receipt of the last dose in each trial. We used
the last observed INR, which was defined as the last measured INR value prior to or on the date
of the first outcome event of interest (INR value closest to the censored date if no event) to
explore the INR-outcome event relationship. This INR value was selected as a best
representation of an individual patient’s INR reading proximal to the time of event or censoring.
In addition, INR values >6 were truncated to 6. A set of common baseline covariates collected

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Reference ID: 3984657
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 65 of 75

in these studies, which could be potentially associated with the outcome of interest was obtained
and tested in Cox PH model. These covariates included age, sex, race (white/non-white),
baseline body weight, baseline aspirin use, baseline antiplatelet use, baseline CHADS2 score,
history of stroke or transient ischemic attack (TIA), diabetes, baseline creatinine clearance
(categorical as normal, mild, moderate, and severe based on Cockcrofit-Gault equation), smoking
history and alcohol use. Covariates in the Cox PH model were selected using stepwise forward
addition followed by backward elimination based on Bayesian information criteria (BIC) and the
stepAIC function from the ‘MASS’ package. Considering that INR management varies
geographically, sensitivity analysis was conducted using Nnorth American patients alone. All the
analyses and plots were conducted and generated in R (version 3.1.2) and/or SAS 9.3.

Results

Table 1 shows demographic and clinical characteristics of warfarin-treated patients in the four
NOAC trials. For the most part, characteristics of patients were similar across the trials except
that ROCKET-AF trial included a higher proportion of patients with CHARDS2 score > 3 and
with prior history of stroke/TIA. Table 2-Table 5 show the parameter estimates for various Cox
PH models based on warfarin data from ENGAGE, ARISTOTLE, and RE-LY. As expected, last
observed INR was a significant predictor for each outcome of interest. Figure 1 shows the event
rate for ischemic stroke and life threatening/fatal bleeding by INR for a typical patient (i.e. 70
year old white man with a prior history of stroke/TIA and CHADS score >2 and without use of
aspirin) on the basis of our Cox models. ,

inferences

Based on these established INR-outcome event relationships, we then estimated the potential
impact of the Alere POC device on the ROCKET trial results, assuming POC INRs measured in
the trial were on average 13% lower than the “true” INRs (the “true” INRs would be on average
15% higher than the POC INRs). Our models estimate that the bleed risk for warfarin arm in the
ROCKET trial would be reduced by ~10%, at most, and the risk for ischemic stroke would be
increased by ~20% if the POC device had not underreported the INR. “Modified” warfarin event
rates and rate ratios (RR) compared to the observed event rates for rrvaroxaban were calculated
and presented along with the observed HRs/ RRs for each outcome of interest to assess the
impact of POC device (Table 6). Our analyses show that the modified RR for bleeding-related
endpoints was only slightly higher compared to the observed results in the ROCKET trail,
suggesting that the impact of Alere POC device on the ROCKET bleeding results was modest.
Sensitivity analysis on North American patients alone revealed that INR values were not a
significant covariate except on major bleeding and ischemic stroke (Table 7-Table 10). This
observation may have been due to a lack of power in the subset analysis to identify significant
covariates. For these two endpoints, a 22% increase in ischemic stroke and 9% decrease in
major bleeding are predicted based on the assumption that the INR values in the trial would
average 13% lower than the “true” INRs. These predictions are in agreement with those from

the full population.

Reference ID: 3984657
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 66 of 75

Limitations
While our analyses demonstrated a modest impact of erroneous POC device on the ROCKET

trial results, there are some limitations one should consider in interpreting the results. First, it is
important to note that all our models rely on the last observed INR prior to the event or the
censored date, assuming this INR value would be best related to the outcome of interest.
However, it is possible, in some cases, that the last observed INR value may differ from the INR
at the time of the event if there has been a recent change in dosing. Secondly, we know that INR
values may vary over the course of the study. Rather than including warfarin as a time-varying
covariate, we used only the INR value closest to the time of the event. Thirdly, we assessed the
impact of POC INR using a fixed adjustment in each INR value (i.e. trae INR was 15% higher
compared to the POC INR in ROCKET). This approach assumes a constant positive bias from
POC device for every subject in ROCKET, which is a straightforward way to assess the impact
of the POC but it did not take into account individual variations and could potentially
underestimate the impact for some individuals. With the limited data provided, a reliable
estimate of variability seems unlikely.

Reference ID: 3984657
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 67 of 75

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Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 71 of 75

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Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 74 of 75

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12

Reference ID: 3984657
Case 2:14-md-02592-EEF-MBN Document 5940-2 Filed 03/29/17 Page 75 of 75

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